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1      TIMOTHY J. McILWAIN
       ATTORNEY AT LAW, LLC
2      Attorney@McIlwainLaw.com
       89 River Street #1538
3      Hoboken, New Jersey 07030
       Tel: (877) 375-9599
4      Fax: (609) 450-7017
5      CHRISTIAN S. MOLNAR, ESQ. (CA State Bar No. 177665)
       christian@christiansmolnarlaw.com
6      (Pro Hac Vice)
7      12400 Wilshire Boulevard, Suite 1180
       Los Angeles, California 90025
8      Tel: (310) 820-9900
       Fax: (310) 919-1950
9
       Attorneys for Plaintiffs ASTERO, LLC, a New Jersey limited liability company, and
10     ANDREA K. TANTAROS, an individual

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12
                          THE UNITED STATES DISTRICT COURT,
13
                            FOR THE DISTRICT OF NEW JERSEY
14
15     ASTERO, LLC, a New Jersey limited            Case No.: 1:13-cv-06005-NLH-JS
       liability company; ANDREA K.
16
       TANTAROS, an individual,                     NOTICE OF OPPOSITION AND
17                                                  OPPOSITION OF PLAINTIFFS’
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                   Plaintiffs,                      TO DEFENDANTS’ MOTION TO
                                                    VACATE ENTRY OF DEFAULT;
19           vs.                                    MEMORANDUM OF POINTS
20                                                  AND AUTHORITIES AND
       TALK RADIO NETWORK                           DECLARATIONS OF CHRISTIAN
21     ENTERTAINMENT, INC., an Oregon               S. MOLNAR, ESQ., AND JOSEPH
22     corporation, MARK MASTERS, an                C. CANE, JR., ESQ., IN SUPPORT
       individual, and Does 1 through 10,           THEREOF
23     inclusive,
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                   Defendants.
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1            Plaintiff ASTERO, LLC, a New Jersey limited liability company, (hereinafter
2      “Plaintiff ASTERO”) and Plaintiff ANDREA K. TANTAROS, an individual,
3      (hereinafter “Plaintiff TANTAROS”) (collectively “Plaintiffs”), through counsel,
4      hereby respond to and formally oppose Defendant TALK RADIO NETWORK
5      ENTERTAINMENT, INC., an Oregon corporation’s (hereinafter “Defendant TALK
6      RADIO”) and Defendant MARK MASTERS, an individual’s (hereinafter “Defendant
7      MASTERS”) (collectively “Defendants”), Motion to Vacate Entry of Default
8      (hereinafter “Defendants’ Motion”). Plaintiffs submit that Defendants’ Motion is
9      without merit and thereby respectfully request that the Court deny the Defendants’
10     Motion in its entirety.
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1            Specifically, each of the reasons Defendants give, in their Motion, as to why the
2      default entered against them should be vacated is false, contrary to the law, and without
3      merit. First, both Defendants were properly served, in accordance with the Federal
4      Rules of Civil Procedure, and the Oregon Rules of Civil Procedure, and further had
5      actual notice of the pending claims against them. Simply, service of process was
6      effective and proper as to both Defendants, and consequently, the Request for Entry of
7      Default as entered against Defendants is valid and should be allowed to stand. Second,
8      Defendants do not have any meritorious defense to the causes of action asserted in
9      Plaintiffs’ complaint, as the claims of Plaintiffs are not subject to mandatory
10     arbitration, and instead must be adjudicated by this court; Third, Defendants are
11     culpable, and completely at fault in causing their default to be taken, as they
12     purposefully failed to respond to the complaint despite knowing that such claims had
13     been filed against them, as part of a calculated litigation strategy to avoid their
14     responsibilities to Plaintiffs,’ and as an attempt to avoid liability in this action; Fourth,
15     vacating the entry of default against Defendant TALK RADIO and Defendant
16     MASTERS would prejudice Plaintiffs in this case, and is therefore improper.
17     Dated: March 3, 2014                              TIMOTHY J. McILWAIN
18
19                                                       /s/Timothy J. McIlwain
20
                                                         Timothy J. McIlwain, counsel for
                                                         Plaintiffs ASTERO, LLC, a New Jersey
21                                                       limited liability company and ANDREA
22                                                       TANTAROS, an individual

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1                     MEMORANDUM OF POINTS AND AUTHORITIES
2      I.    INTRODUCTION AND STATEMENT OF FACTS
3            This dispute arises out of an employment agreement between Plaintiff ANDREA
4      TANTAROS, an individual (hereinafter “Plaintiff TANTAROS”) and her loan-out
5      company, Defendant ASTERO, LLC, an New Jersey limited liability company
6      (hereinafter “Plaintiff ASTERO) (collectively “Plaintiffs”), on the one hand, and
7      Defendant TALK RADIO NETWORK ENTERTAINMENT, INC., (hereinafter
8      “Defendant TALK RADIO”) and Defendant MARK MASTERS, an individual,
9      (hereinafter “Defendant MASTERS”) (collectively “Defendants”), on the other hand, in
10     which Plaintiffs agreed to provide Defendants the services of Plaintiff TANTAROS as
11     a host on Defendant TALK RADIO’s morning radio program entitled “The Andrea
12     Tantaros Show” (hereinafter the “Show”) in exchange for Plaintiff TANTAROS
13     receiving certain compensation, including a percentage of the annual net revenue,
14     annual “user fees” received by the show, and a base salary.
15           Approximately three (3) months following commencement of her employment,
16     Defendant TALK RADIO started to pay Plaintiff TANTAROS’ salary late, and over
17     the course of the next several months, laid off a large number of integral and necessary
18     employees, such as the show’s executive producer and, importantly, most of the “sales”
19     team which orchestrated much of the Show’s revenue stream. By so doing, Defendant
20     TALK RADIO breached the employment agreement by, among other things, failing to
21     provide Plaintiff TANTAROS with the contracted for resources necessary to perform
22     her hosting duties. Plaintiffs’ additionally allege that Defendants were aware that they
23     would be unable to perform, as promised, and were, at all times herein relevant,
24     intending to breach the employment agreement. As a result of these, and many other
25     breaches, on or about October 10, 2013, Plaintiffs filed a complaint, in the United
26     States District Court for the District of New Jersey against Defendant TALK RADIO
27     and Defendant MASTERS, relating to Defendants’ failure and refusal to perform in
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1      accordance with the employment agreement, as well as for various improper and
2      wrongful conduct on the part of Defendants, including fraud, intentional
3      misrepresentation and improper employment discrimination in violation of New Jersey
4      state law. On or about October 21, 2013, and again on or about November 8, 2013,
5      Plaintiffs filed their first and second amended complaints, respectively, to cure various
6      procedural deficiencies in their pleadings, and to make more clear the basis of
7      jurisdiction within the U.S. District Court for the District of New Jersey over the entity
8      defendant, but making no major substantive changes to their causes of action. Each
9      subsequent complaint was filed electronically, and as admitted by Defendants, actually
10     received by them and their legal counsel. See Defendants’ Motion to Vacate Entry of
11     Default, Declaration of Ron Severaid, Paragraph 8; see also Declaration of Joseph C.
12     Cane, Jr., Esq., at Exhibit “A and C.” For instance, on October 21, 2013, Defendant
13     TALK RADIO sent a letter to Plaintiffs’ counsel, Joseph Cane, Jr. Esq., stating that
14     Defendant TALK RADIO had received notice of Plaintiffs’ complaint, the day the
15     complaint was filed. See Declaration of Joseph C. Cane, Jr., Esq., at Exhibit “C,”
16     (Defendants confirming the wiring of past-due funds into Plaintiff TANTAROS’
17     account, and stating that such funds were wired “prior to hearing late that afternoon [of
18     October 10, 2013] of the improper commencement of a legal action on behalf of
19     [Plaintiffs.]”) Further, such correspondence was not sent in isolation – to the contrary,
20     such letter was sent in response to a demand letter from Plaintiffs’ counsel (one of
21     many) which was sent to Defendants and put them on notice of the fact that Plaintiffs
22     would be filing this action. See Declaration of Joseph C. Cane, Jr., Esq. at Exhibit
23     “C”. Additionally, the Plaintiffs’ filed lawsuit was national news, reported on several
24     well-known news networks, who in turn reached out to Plaintiffs’ counsel’s office, as
25     well as to both Defendants for comment. See Declaration of Joseph C. Cane, Jr., Esq.,
26     at Exhibit “A.” Defendants further responded to such news reports, giving statements
27     to the press regarding their intent to respond to Plaintiffs’ case. See Declaration of
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1    Joseph C. Cane, Jr., Esq., at Exhibit “A.”
2          On or about November 8, 2013, a summons was issued by the United States
3    District Court for the District of New Jersey as to Defendant TALK RADIO and
4    Defendant MASTERS with regard to Plaintiffs’ second amended complaint (hereinafter
5    “Complaint.”) See Docket Number 12. Soon thereafter, on or about November 21,
6    2013, copies of the summons and Complaint were served, by and through the reputable
7    process service agency ABC Legal, who also happen to be the U.S. Department of
8    Justice’s process servers, on Defendants MASTERS and TALK RADIO, at
9    MASTERS’ business address, and the address of the registered agent for service of
10   process of Defendant TALK RADIO, respectively, which are both located at Defendant
11   TALK RADIO’s headquarters in Grants Pass, Oregon. See Declaration of Christian S.
12   Molnar, Esq., at Exhibit “A.” Such service was performed in full compliance with the
13   Oregon Rules of Civil Procedure respecting service of summons, as further set forth,
14   infra. As Defendants’ admit in their Motion, both Defendants, and their legal counsel,
15   additionally actually received said summons and Complaint, and were aware of service
16   of the same at their Grants Pass office location. See Defendant’s Motion to Vacate
17   Default, Declaration of Ron Severaid, at Paragraph 8.
18         Contrary to Defendants’ platitudes regarding their inability to understand the
19   documents left for them at their registered business locations, and their purported
20   failure to realize that they were required to respond to Plaintiffs’ Complaint,
21   Defendant TALK RADIO and Defendant MASTERS are sophisticated business
22   persons, who have been, and/or currently are, involved in literally dozens of legal
23   disputes with individuals and entities nation-wide. See Declaration of Christian S.
24   Molnar, Esq., at Exhibit “B.” In fact, a material and fundamental aspect of this case
25   involves Defendant TALK RADIO’s protracted and complex litigation in federal court
26   with a distribution company, non-party Dial Global, Inc. See Declaration of Christian
27   S. Molnar, Esq., at Exhibit “C.”
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1          As experienced and sophisticated litigants, Defendant TALK RADIO and
2    Defendant MASTERS have full-time in-house legal counsel, Ron Severaid, Esq., who
3    is charged with monitoring pleadings, motions, and legal filings that affect Defendant
4    TALK RADIO, and responding accordingly. As admitted in their Motion to Vacate
5    Entry of Default (hereinafter “Defendants Motion”), Defendants were aware of both the
6    original complaint and the currently operative, second amended complaint, within a
7    few days of their respective electronic filings, and were additionally aware of the fact
8    that service had been made upon them with regard to the second amended complaint.
9    See Defendants’ Motion, at Declaration of Ron Severaid at Paragraph 8; Defendants’
10   Motion, at Declaration of Mark Masters, at Paragraph 4. Knowing that Plaintiffs’
11   Complaint was filed, and knowing that service had been made, or at the very least,
12   attempted, the proper legal avenue to challenge that service would have been to file a
13   motion to quash service. Instead, Defendants simply sat on their hands, waiting
14   months, without action, until a default had been taken against them, and only then
15   argue they were improperly served. Even if service had not been proper, doing nothing
16   when a party knows that service was attempted is clearly not a proper legal method by
17   which to object to service – a fact that both Defendants, who are serial litigants, and
18   their counsel, who is a sophisticated litigator, clearly knew was improper behavior.
19         This court certainly should not reward Defendants for ignoring Plaintiffs
20   complaint for months, and then looking to this Court to “bail them out” of a default that
21   could have easily been avoided, but for Defendants’ purposeful failure to timely reply.
22   Should Defendants have actually believed that service of process was insufficient in
23   this case, the correct course of action was to file a motion to quash, or, at the very least,
24   meet and confer with Plaintiffs’ counsel to determine whether any additional action is
25   necessary or required to move the case forward – not ignore Plaintiffs’ Complaint as a
26   legal strategy and hope that their problem would just go away. Defendants should not
27   be rewarded for their calculated indifference in shrugging off their legal obligation to
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1    respond to Plaintiffs’ properly served Complaint; but rather, they should be made to
2    live with their intentional choice to ignore the pleading, and suffer the consequences of
3    their negligent behavior.
4    II.   LEGAL DISCUSSION
5          A.     Defendants were properly served Pursuant to FRCP 4(E)(2).
6          Defendants argue that the default entered against them should be vacated
7    pursuant to Federal Rules of Civil Procedure 55(c) because neither Defendant TALK
8    RADIO nor Defendant MASTERS was properly served with the summons and
9    complaint as required by the Federal Rules of Civil Procedure. (See Docket Number
10   17.) However, Defendant’s argument is premised on a complete mis-reading, or
11   purposeful omission, of critical portions of the Federal Rules of Civil Procedure and
12   the Oregon Rules of Civil Procedure. Because Defendants’ argument completely fails
13   to grasp the critical portions of the applicable rules, their argument lacks merit and is
14   fatally defective.
15                1.      The Federal Rules of Civil Procedure Allow for Service to be
16                        Effectuated Under the Rules of the State in Which Service is
17                        Made.
18         Federal Rule of Civil Procedure 4(e) provides that “an individual . . . may be
19   served in a judicial district of the United States by: (1) following state law for serving a
20   summons in an action brought in courts of general jurisdiction in the state where the
21   district court is located or where service is made. . .” Thus, to properly serve an
22   individual like Defendant MASTERS in a Judicial District of the United States, the
23   serving party has a choice – it may comply with either the rules regarding service of
24   process in the state in which the district court is located (here, New Jersey,) or the state
25   in which service is made (here, Oregon.) Compliance with either set of rules will
26   constitute proper and adequate service in any Judicial District Court of the United
27   States. Similarly, Federal Rule of Civil Procedure Rule 4(e) states “a domestic or
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1    foreign corporation, or a partnership or other unincorporated association that is subject
2    to suit under a common name, must be served: (1) in a judicial district of the United
3    States: (A) in the manner prescribed by Rule 4(e)(1) for serving an individual. . .”
4    Thus, to properly serve a corporate entity, like Defendant TALK RADIO, the same
5    choice is available -- the serving party may serve the corporation under either the rules
6    of the state in which the district court is located, or the state in which service is made.
7                 2.     Defendant Talk Radio Was Properly Served Under the Rules of
8                        Oregon, the State in Which Service Was Made.
9          The Oregon Rules of Civil Procedure proscribe that the “Primary Service
10   Method” for serving a corporation is “[b]y personal service or office service upon a
11   registered agent, officer, or director of the corporation; or by personal service upon
12   any clerk on duty in the office of a registered agent. Oregon Rules of Civil
13   Procedure 7(D)(3)(b). In defining which persons qualify as “clerks” within the scope
14   of this rule, the Oregon has interpreted the term broadly, to encompass nearly all
15   persons employed in the same office location as the registered agent for service of
16   process who is available to, and interacts with, the public and has some contact with
17   the registered agent. Abbotts v. Bacon, 133 Or. App. 315, 320 (1995)(defining “clerk”
18   as “encompass[ing] those employees in the registered agent's office who interact with
19   the public, have regular contact with the registered agent, and for whom there is some
20   obligation to pass along documents to the registered agent.”) Exemplifying how
21   extremely broad the term “clerk” is under this rule, the court found, in Abbots v.
22   Bacon, a bartender who worked in the same building as the registered agent for service
23   of process to be a “clerk” capable of accepting service on behalf of the agent. There,
24   the court concisely summarized all that was required under the Oregon rule: “The
25   process server went to defendant's registered agent's office, verified that the agent in
26   fact worked at the immediate location, and then proceeded to serve the bartender on
27   duty there. . . On these facts, we conclude that the bartender plaintiff served was a
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1    “clerk” in defendant's registered agent's office and that service was effected in
2    accordance with [the rule]” Abbotts v. Bacon, 133 Or. App. 315, 321(1995).
3            In this case, Ms. Erin Terry, a person whom Defendants admit “works at the site
4    of [Defendant TALK RADIO],” and is employed at the same location, and presumably
5    in the same offices as, as Defendant TALK RADIO’s registered agent for service of
6    process, Mr. Ron Severaid, and has regular contact with Mr. Severaid. See Defendant’s
7    Motion, at Declaration of Erin Terry, paragraph 3 and 7; see also Declaration of
8    Christian S. Molnar, Esq, at Exhibit “D.” As such, she satisfies all the requirements,
9    as set forth by the court, of a “clerk on duty in the office of a registered agent” and thus
10   may properly be served with papers on behalf of Defendant TALK RADIO. Ms. Terry,
11   a fellow employee in the same office space as Mr. Severaid, certainly has a greater
12   nexus to him, is a more proper person to accept service, than the bartender in Abbotts,
13   supra, who was deemed by the court to be a proper person on which service may be
14   made.
15           Defendants devote much space in their brief to complain that Ms. Terry is not an
16   officer or director of Defendant TALK RADIO, is not directly employed by Defendant
17   TALK RADIO or Defendant MASTERS, and is not “in charge” of Defendants’ office.
18   Setting aside for the moment that Plaintiffs’ process server has no way of knowing any
19   of this, and the fact that Ms. Terry willingly accepted the documents, none of the facts
20   Defendants’ assert are lacking are required before Defendants can be served at this
21   address – as case law makes clear – any person, employed at the registered address, and
22   who has regular contact with the registered agent, may be served. Ms. Terry clearly fits
23   the bill. Defendants’ attempt to distract this Court with extraneous and inapplicable
24   facts is simply beside the point – the service of process on Defendant TALK RADIO
25   was in full compliance with the liberal standards set forth in the Oregon Rules of Civil
26   Procedure, and effective to satisfy service of process of the District Court for the
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1    District of New Jersey. Thus, Defendants’ entire argument, premised on their alleged
2    “improper service,” collapses.
3                3.     Defendant Masters Was Properly Served Under the Rules of
4                       Oregon, the State in Which Service Was Made.
5          Similarly, Defendant MASTERS was properly served under the Oregon Rules of
6    Civil Procedure. Consistent with the liberal requirements established by the Oregon
7    Rules, the Oregon court allows for service by any of the specific methods laid out in
8    Rule 7(D)(3) or by any other method reasonably calculated, under all the
9    circumstances, to apprise the defendant of the existence and pendency of the action and
10   to afford a reasonable opportunity to appear and defend.” Oregon Rules of Civil
11   Procedure 7(D)(1); Hoeck v. Schwabe, Williamson & Wyatt, 149 Or. App. 607, 615
12   (1997) (The Oregon “Supreme Court articulated a two-part test for determining the
13   adequacy of service under ORCP 7. First, . . . determine whether the method used was
14   permitted by ORCP 7 D(3)… If those requirements are not met, then we must
15   determine whether service otherwise is adequate under the reasonable notice standard
16   set forth in ORCP 7 D(1).”) The Oregon Court has held that service on an individual
17   like Defendant MASTERS is adequate under Rule7 D(1) if the process server has
18   reason to believe that the person with whom the summons and complaint have been left
19   has regular, frequent and predictable contact with the defendant. Hoeck v. Schwabe,
20   Williamson & Wyatt, 149 Or. App. 607, 617 (1997). Likewise, service was determined
21   to be adequate where service was made on the Defendant’s ex-wife, the Defendant’s
22   book-keeper, and even the Defendant’s lawyer’s grandmother, where the facts show
23   that the Defendant has frequent and regular contact with that person, and would thus
24   likely receive notice of the documents served. See Duber v. Zeitler, 118 Or.App. 597,
25   601, (1993)(service upon the Defendant’s ex-wife was proper, where the Defendant
26   regularly saw her for the purposes of picking up mail and vising his children); Matter
27   of Marriage of Boyd, 131 Or.App. 194, 199-200, (1994)(Service on Defendants book
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30           DEFENDANTS’ MOTION TO VACATE ENTRY OF DEFAULT
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1    keeper was valid where process service established that bookkeeper maintained more
2    than infrequent and unpredictable contact with the defendant); Gallogly v. Calhoon,
3    126 Or.App 366, 370-01 (1994)(Service on a defendant lawyer's grandmother, at her
4    home was adequate under the Oregon Rules because the defendant had designated that
5    address as the place to receive professional correspondence.)
6          In fact, in a case remarkably similar to the facts presented here, in Hoeck v.
7    Schwabe, Williamson & Wyatt, the court was required to determine whether service
8    was adequate on an individual where the process server left the summons and
9    complaint with a receptionist at the office where the Defendant worked, and where
10   Defendant was frequently present, and then followed-up that notice by mailing a copy
11   of the summons and complaint to Defendant at the same address. In finding service to
12   be adequate and proper, the court analyzed the above precedent in holding:
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             Under the circumstances, we conclude that the service satisfied the
14
             reasonable notice requirements of ORCP 7 D(1). Certainly, the
15           contact between a lawyer and a receptionist on his or her floor
16           entails more than the once-a-week visits that we found adequate in
             Duber. Like the defendant's relationship with his bookkeeper in
17           Boyd, [Defendants]'s relationship with the receptionist on his
18           floor—and her particular knowledge of his whereabouts and
             schedule—implies that his contacts with her were regular, frequent
19           and predictable. Particularly in the light of the fact that service
20           was made at the address designated by [Defendant] as the place
             to receive professional correspondence, and that plaintiff
21
             followed that service with service by mail, as in Gallogly,
22           plaintiffs had good reason to believe that [Defendant] would be
             apprised of the existence and pendency of the action against
23
             him.
24
25   Hoeck v. Schwabe, Williamson & Wyatt, 149 Or. App. 607, 618 (1997). Defendant’s
26   contention that the process server was required to affirmatively ascertain that the
27   person on whom papers were served, Ms. Terry, was actually a “boss” or “person in
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1    charge” of the office location, or, alternatively, was a person authorized to accept
2    service on behalf of Defendant MASTERS is simply erroneous, and was expressly
3    rejected in Boyd, supra. Under the Oregon rule, much less is required. See Gallogly v.
4    Calhoon, 126 Or.App. at 370–71, 869 P.2d 346; Hoeck v. Schwabe, Williamson &
5    Wyatt, 149 Or. App. 607, 618 (1997).
6          Here, as in the above cases, Plaintiff served Defendant MASTERS by leaving at
7    his office location, a place with which Defendant MASTERS has frequent, regular, and
8    predictable contact, and which is also the address designated by Defendant MASTERS
9    as the place in which he receives professional correspondence, a copy of the summons
10   and complaint. See Declaration of Christian S. Molnar at Exhibit “D.” Additionally,
11   as admitted by Defendant MASTERS in his declaration attached to Defendant’s
12   Motion, the same documents were mailed to Defendant MASTERS, and actually
13   received by him, at the same location. See Defendant’s Motion at Declaration of Mark
14   Masters, Paragraph 4. The Oregon court has, time and time again, affirmed the rule
15   that leaving a copy of the summons and complaint at the Defendant’s business address
16   and place of work, followed-up by mailing the same to the Defendant, constitutes
17   proper service. See Gallogly v. Calhoon, 126 Or.App. at 370–71, 869 P.2d 346; Hoeck
18   v. Schwabe, Williamson & Wyatt, 149 Or. App. 607, 618 (1997). This is exactly the
19   process, to the letter, that was taken in serving Defendant MASTERS. Thus,
20   Defendant MASTERS cannot plausibly assert that he was improperly served under the
21   Oregon Rules.
22         B.     Good Cause Does Not Exist to Vacate the Default Pursuant to FRCP
23                55(c).
24                1.       Defendant Has No Meritorious Defense Against Plaintiffs’
25                         Claims.
26         A threshold issue in opening a default judgment is whether a meritorious defense
27   has been asserted. Where the Defendants do not, or cannot, assert a meritorious
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1    defense to the causes of action contained in Plaintiffs’ Complaint, then the default must
2    stand, as entered. Hritz v. Woma Corp., 732 F.2d 1178, 1181 (3d Cir. 1984). A
3    “meritorious defense” as used in this context, is a stringent standard – the Defendants
4    must establish that “the allegations of defendant’s answer, if established on trial would
5    constitute a complete defense to the action.” Hritz v. Woma Corp., 732 F.2d 1178,
6    1181 (3d Cir. 1984). Defendants have not met this standard for at least four reasons:
7          First, Defendants “defense” is only a complaint as to the forum in which
8    Plaintiffs’ claims have been brought, and does nothing to counter the substantive
9    aspects of Plaintiffs’ Complaint. Second, even should Defendants’ defense of
10   arbitration be considered a substantive, true “defense” to the claims asserted by
11   Plaintiffs,’ it is of no help to Defendants,’ as there is no valid arbitration clause in this
12   case. The “arbitration clause” that Defendants’ allude to was contained in Plaintiff
13   TANTAROS’s employment contract, which was for a limited duration, and which was
14   terminated several months ago. Defendants want to have it both ways. They assert that
15   the arbitration clause in the employment agreement should be considered operative and
16   a basis for justifying their failure to timely answer the Complaint, while they
17   concurrently ignore the fact that they intentionally and repeatedly breached the very
18   agreement upon which they now seek to rely. As a consequence of Defendants’
19   repeated and uncured material breaches of its terms, the contract containing the
20   arbitration clause is no longer operative, it has no force or effect in this action. Third,
21   even if, arguendo, Plaintiff TANTAROS’s employment contract was still operative and
22   binding on the parties, which it is not, many of Plaintiffs’ causes of action are outside
23   the scope of the employment agreement, and therefore would not be governed by its
24   terms, in any event. For example, Plaintiffs’ claims regarding intentional fraud and
25   fraud in the inducement, as well as Plaintiffs’ cause of action seeking declaratory relief,
26   are outside the scope of Plaintiff TANTAROS’s employment agreement. Fourth,
27   where there is any doubt, ambiguity or argument as to whether Plaintiffs’ case is
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1    subject to mandatory arbitration, it is a question that must be decided by the court, it is
2    error to assign such a decision to the arbitrator. As such, Defendants cannot escape the
3    jurisdiction of this court so easily – until the court has determined, definitively and as a
4    matter of law, that each and every one of Plaintiffs’ claims are subject to mandatory
5    arbitration, Defendants are required to answer to this court.
6                        a. Defendants Assert No Substantive Defense to Plaintiffs’ Claims.
7          Defendants’ so-called “meritorious defense” to Plaintiffs’ claims is that the
8    action is governed by a mandatory arbitration clause within Plaintiff TANTAROS’s
9    employment contract. However, asserting that the case is not subject to adjudication by
10   this Court is not a substantive, direct defense to the claims asserted, but merely a
11   complaint as to the venue in which the claims are filed – a procedural defect, at most.
12   As Defendants assert no substantive defense as to the merits of Plaintiffs’ claims,
13   Plaintiffs can only assume that none such defense exists. As the existence of a
14   substantive defense is a “threshold issue” when determining whether an entry of default
15   should be vacated, then this defect alone should cause Defendants’ Motion to be
16   denied. See Hritz v. Woma Corp., 732 F.2d 1178, 1181 (3d Cir. 1984).
17                       b. No Arbitration Clause Exists in this Case.
18         Where there is no valid contract to arbitrate, a petition to compel arbitration must
19   be denied. See Centrury Indem. Co. v. Certain Underwriters at Lloyd’s London, 854
20   F.3d. 513, 523 (3d. Cir. 2009). Here, the only contract which might subject the parties
21   to arbitration is Plaintiffs’ employment agreement – a contract which was terminated
22   some months ago, and which is no longer operative. Because the contract at issue is no
23   longer operative, there is no basis by which to enforce arbitration.
24                       c. Plaintiffs’ Claims are Outside the Scope of the Purported
25                          Arbitration Clause.
26         Arbitration may only be compelled if a particular case falls entirely within the
27   scope of the arbitration clause. Centrury Indem. Co. v. Certain Underwriters at
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1    Lloyd’s London, 854 F.3d. 513, 523 (3d. Cir. 2009). A reviewing court may not
2    “override the will of the parties by giving the arbitration clause greater coverage then
3    the parties intended.” PaineWeber, Inc. v. Hartmann, 921 F.2d 507, 511 (3d. Cir.
4    1995). Similarly, a court cannot “force a party to arbitrate their disputes unless the
5    party agreed to such arbitration.” Bouriez v. Carnegie Mellon Univ., 359 F.3d 292, 292
6    (3d. Cir. 2004). As argued more fully, infra, the scope of the arbitration clause is a
7    question for the court, as a matter of law, based on the prevailing rules of contract
8    interpretation, and not a question for the arbitrator. First Options of Chi., Inc. v.
9    Kaplan, 514 U.S. 938 (1995).
10         In this case, the arbitration clause is narrowly drawn, applying only as to
11   “disputes between the parties relating to this agreement and/or the obligations and/or
12   entitlements of any Party under this agreement.” See Declaration of Joseph C. Cane,
13   Jr., Esq., Exhibit “D,” Employment Agreement, Section 24, pg. 24. The plain-
14   meaning of this arbitration clause is that it only governs disputes arising out of the
15   contract itself, or the obligations and rights assigned pursuant to its terms – it does not
16   cover conduct or actions taken before the contract was entered into, nor does it cover
17   actions that are outside the scope of the employment at issue, such as claims of
18   harassment, discrimination, and the like, which are completely absent, in any form,
19   from the employment agreement.
20         To determine whether a “particular claim falls within the scope of an arbitration
21   agreement, the focus is on the factual underpinning of the claim rather than the legal
22   theory alleged in the complaint” Medtronic AVE, Inc. v. Advanced Cardiovascular
23   Sys., Inc., 247 F.3d. 44, (3d Cir. 2001). Moreover, a claim is considered to “arise
24   under” a contract only where its resolution requires resort to the language of the
25   contract. Ford v. NYLCare Health Plans of Gulf Coast Inc., 141 F3d. 243 246 (5th Cir.
26   1998). The real test is “not….whether the facts in support of the action will generally
27   implicate the agreement as an item of evidence” or whether the agreement is mentioned
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1    in the complaint, by whether or not the facts that must be proven to seek relief from the
2    injuries alleged are based on the contract. Ford v. NYLCare Health Plans of Gulf
3    Coast Inc., 141 F3d. 243 246 (5th Cir. 1998). Many of Plaintiffs claims are beyond the
4    scope of the arbitration clause because the employment agreement is completely
5    irrelevant to the factual underpinnings of those claims. For example, Plaintiff’s claims
6    regarding employment discrimination under New Jersey state law have nothing to do
7    with the terms or obligations arising from the employment agreement -- or contract law
8    at all – and are entirely a creature of state and/or federal statutory law. Similarly,
9    Plaintiffs’ claims regarding intentional fraud and fraud in the inducement have nothing
10   to do with the parties’ rights and/or obligations arising under the employment
11   agreement, but rather relate to the parties’ conduct leading up to the creation of the
12   agreement itself. Actions that precede the contract containing the arbitration agreement
13   are quite simply not governed by the terms of the subsequent agreement.
14                       d. The Issue of Whether the Action is Subject to Arbitration is a
15                          Question for the Court, Not the Arbitrator.
16         United States Courts have consistently recognized that the arbitrability of a
17   dispute is a determination for the courts not an arbitrator. Unless the parties clearly and
18   unmistakably provide otherwise, the question whether they agreed to arbitrate the
19   particular dispute is to be decided by the court, not the arbitrator. First Options of
20   Chicago, Inc. v. Kaplan (1995) 514 U.S. 938, 944. The rationale for this is that the
21   willingness of parties to enter into arbitration agreements “would be ‘drastically
22   reduced’… [if an] arbitrator has the ‘power to determine his own jurisdiction’” AT&T
23   Technologies, Inc. v. Communications Workers of America, 475 U.S. 643, 651 (1986).
24   Defendants’ entire argument as to why this matter should be arbitrated is based on the
25   fallacious assumption that BOTH of the following, completely unestablished facts are
26   in fact, true: (1) that Plaintiff TANTAROS’s employment agreement is still operative,
27   despite the fact that its term has ended, and Plaintiff TANTAROS is no longer
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1    employed by Defendant TALK RADIO, and (2) that each and every one of Plaintiffs’
2    causes of action fall within the scope of the employment agreement – an assertion that
3    is easily discounted simply by looking at the causes of action asserted here, such as
4    intentional fraud and fraud in the inducement. On Defendants’ best day, there is a
5    serious question as to whether Plaintiffs’ claims are subject to arbitration.
6                 2.     Defendants Purposefully Ignored the Complaint and Summons
7                        in this Case, and are Culpable in the Resulting Entry of Default.
8          Despite Defendants’ excuses regarding their purported inability to understand
9    the documents left for them at their registered business locations, and their purported
10   failure to realize that they were required to respond to Plaintiffs’ Complaint, Defendant
11   TALK RADIO and Defendant MASTERS are sophisticated business persons well
12   capable of understanding and responding to legal documents. In fact, both Defendant
13   MASTERS and Defendant TALK RADIO who have been, and/or currently are,
14   involved in literally dozens of legal disputes with individuals and entities nation-
15   wide regarding issues very similar to those raised in this case.
16         As admitted in their Motion to Vacate Entry of Default (hereinafter “Defendants
17   Motion”), Defendants were aware of both the original complaint and the currently
18   operative, second amended complaint, within a few days of their respective electronic
19   filings, and were additionally aware of the fact that service had been made upon them
20   with regard to the second amended complaint. Further, Defendant TALK RADIO and
21   Defendant MASTERS have full-time in house legal counsel, Ron Severaid, Esq., who
22   is charged with monitoring pleadings, motions, and legal filings that affect Defendant
23   TALK RADIO, advising and counseling Defendants as to the same, and responding
24   appropriately. Knowing that Plaintiffs’ Complaint was filed, and knowing that service
25   had been made, or at the very least, attempted, the proper legal avenue was for
26   Defendants to file a motion to quash service. Waiting months, without action, until a
27   default had been taken against them and only then argue they were improperly served is
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1    the improper legal method by which to object to service – a fact that both Defendants
2    and their counsel are clearly aware.
3           Defendants should not be rewarded for ignoring Plaintiffs complaint for months,
4    and then requesting the court to “bail them out” of a default that was avoidable, but for
5    Defendants’ purposeful failure to timely reply. Should Defendants have believed that
6    service of process was insufficient in this case, the correct legal response would have
7    been to file a motion to quash, or, at the very least, seek to meet and confer with
8    Plaintiffs’ counsel to determine whether any additional action is necessary or required
9    to move the case forward – not ignore Plaintiffs’ Complaint as a legal strategy and
10   hope that their problem simply resolves itself. Defendants should not be rewarded for
11   their calculated indifference and irresponsibility in completely shrugging off their legal
12   obligation to respond to Plaintiffs’ properly served Complaint; rather, they should be
13   made to live with their intentional choice to ignore the pleading, and realize
14   consequences of their behavior – accepting the default that was entered due to their
15   failure to respond.
16                 3.      Vacating the Entry of Default Would Result in Prejudice to
17                         Plaintiffs.
18          Defendants cavalierly disregard the prejudice to Plaintiffs’ caused by their
19   irresponsible failure to respond to Plaintiffs’ pleading by stating that, because only
20   months have passed since the entry of default, no prejudice could have possibly arisen.
21   This is simply not-true, and over-looks and discounts the harm incurred, and continued
22   to be incurred, by Plaintiffs’ as a direct result of Defendants’ complete disregard for
23   Plaintiffs’ rights.
24          As a preliminary matter, in deciding the issue of prejudice, Defendants take an
25   arbitrary and myopic view in what constitutes prejudice – looking only to the time
26   frame between the entry of Defendant’s default and the filing of Defendants’ Motion –
27   completely disregarding the context in which Defendants’ Motion arose, or the history
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1    of this case. The court has concluded that a longer outlook must be taken when
2    deciding the issue of prejudice; one that takes into consideration all the facts and
3    circumstances of the case. Hritz v. Woma Corp., 732 F.2d 1178, 1182 (3d Cir.
4    1984)(Defendants “failure to answer the complaint must be viewed in the context of its
5    failure over an extended period of time to answer any claim or correspondence from the
6    plaintiffs.”)
7           Viewed in context of the entire case, Defendants’ failure to respond resulted in
8    extreme prejudice to Plaintiffs – Defendants have, to date, never responded to
9    Plaintiffs’ myriad requests for information relating to her unpaid contingent
10   compensation, resulting in a severe loss of income and forcing Plaintiffs’ to expend
11   additional monies to hire legal counsel on their behalf. Further, by not responding to
12   Plaintiffs’ Complaint, Defendants completely barred Plaintiff from conducting any
13   discovery – a tactic which effectively precludes Plaintiffs from ever definitively
14   knowing just how much contingent compensation they are owed by Defendants. By
15   continuing to purposefully ignore Plaintiffs’ demands, Defendants have only further
16   damaged Plaintiffs, and prejudiced their ability to recover for their damages, and
17   further forced them to wait still longer for monies to which they are entitled. Viewed
18   in this light, Defendants have inflicted severe prejudice on Plaintiffs by defaulting in
19   this action, which would only be compounded should such default be vacated. As
20   such, Defendants should not be allowed to vacate such default.
21   III.   CONCLUSION
22          Plaintiffs’ respectfully request that the Defendants’ Motion to Vacate Entry of
23   Default be denied, as Defendants state no valid reason why the default should be
24   vacated. Rather, each of the reasons Defendants give as to why the default entered
25   against them should be vacated is contrary to the law, based on unfounded or
26   unsupported statements of fact, and without merit. First: both Defendants were
27   properly served with copies of the summons and Complaint, in full compliance with the
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1    Federal Rules of Civil Procedure and the Oregon Rules of Civil Procedure, and further
2    had actual notice of the pending claims against them. Simply, service of process was
3    effective and proper as to both Defendants, and consequently, the Request for Entry of
4    Default as entered against Defendants is valid and should be allowed to stand.
5    Additionally, Defendants do not have any meritorious defense to the causes of action
6    asserted in Plaintiffs’ complaint; as such, vacating the entry of default would be futile.
7    Plaintiffs’ claims are not subject to arbitration, and instead must be adjudicated by this
8    court. Moreover, Defendants are completely at fault in causing their default to be
9    taken, and could have avoided the same, had they wished, as Defendants were aware of
10   both the filing of Plaintiffs’ complaint, and of service of the same at their registered
11   business address. Instead of filing a responsive pleading, or a motion to quash service,
12   as is appropriate, Defendants instead chose to ignore Plaintiffs’ complaint as part of a
13   calculated litigation strategy, and in the hopes of avoiding their liability to Plaintiff in
14   this action. Finally, Defendants have engaged in a continuous and wrongful pattern of
15   behavior in which they fail to timely pay, or indeed, even respond, to Plaintiffs’ request
16   for information, financial data, or payments arising under their agreement.
17         Such actions have substantially hindered plaintiffs’ ability to recover in this case,
18   and caused extensive and avoidable delays in recovery of the sums owed. Vacating
19   Plaintiffs default would only cause further delay and further prejudice to Plaintiffs.
20   Defendants should not be allowed to benefit from their calculated delays in this case.
21   Instead, Defendants should be made to suffer the consequences of purposefully failing
22   to respond to a properly served pleading –default judgment.
23   Dated: March 3, 2014                               TIMOTHY J. McILWAIN
24
25                                                      /s/Timothy J. McIlwain
26
                                                        Timothy J. McIlwain, counsel for
                                                        Plaintiffs ASTERO, LLC, a New Jersey
27                                                      limited liability company and ANDREA
28                                                      TANTAROS, an individual
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1                   DECLARATION OF CHRISTIAN S. MOLNAR, ESQ.
2          I, CHRISTIAN S. MOLNAR, Esq., hereby declare that
3          1.     I am one of the attorneys of record for Plaintiffs ANDREA TANTAROS,
4    an individual, and ASTERO, LLC, a New Jersey limited liability company (hereinafter
5    “Plaintiff TANTAROS” and “Plaintiff ASTERO”.) I have personal knowledge of the
6    matters set forth in this declaration and, if called as a witness, I could and would testify
7    competently as to the matters stated below.
8          2.     I am making this Declaration in support of Plaintiff ASTERO and Plaintiff
9    TANTAROS’s Opposition to Defendant’s Motion to Vacate Entry of Default.
10         3.     On or about November 21, 2013, copies of the summons and Plaintiffs’
11   second amended complaint were served, by and through the reputable process service
12   agency ABC Legal, who are the U.S. Department of Justice’s process servers, on
13   Defendant MARK MASTERS, an individual’s (hereinafter “Defendant MASTERS”)
14   and Defendant TALK RADIO NETWORK, ENTERTAINMENT, INC., an Oregon
15   corporation’s (hereinafter “Defendant TALK RADIO”) at Defendant MASTERS’
16   registered business address, and the address of the registered agent for service of
17   process of Defendant TALK RADIO, respectively, which are both located at Defendant
18   TALK RADIO’s headquarters in Grants Pass, Oregon.
19         4.     A true and correct copy of the Proofs of Service of Process filed in this
20   case, confirming substituted service on Defendant MASTERS and Defendant TALK
21   RADIO, is attached hereto as Exhibit “A.”
22         5.     I directed the process server to serve Defendant MASTERS and Defendant
23   TALK RADIO at their registered business addresses. The Oregon Secretary of State’s
24   registered address for Defendant MASTERS and Defendant TALK RADIO is attached
25   hereto as Exhibit “D.”
26         5.     Defendant TALK RADIO and Defendant MASTERS are, and have been,
27   involved in literally dozens of legal disputes with individuals and entities nation-wide.
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1    The “PACER” reports for Defendant TALK RADIO and its affiliated entities, as well
2    as for Defendant MASTERS and Their counsel, Mr. Ron Severaid, are attached hereto
3    as Exhibit “B.”
4          6.     In fact, a material and fundamental aspect of this case involves Defendant
5    TALK RADIO’s protracted and complex litigation in federal court with a distribution
6    company, non-party Dial Global, Inc. Plaintiff TALK RADIO’s second amended
7    complaint against Dial Global, Inc., is attached hereto as Exhibit “C.”
8          I declare, under penalty of perjury under the laws of the United States of
9    America, that the foregoing is true and correct.
10   Dated: March 3, 2014                            CHRISTIAN S. MOLNAR
11
12                                                   /s/Christian S. Molnar
13
                                                     Christian S. Molnar, Esq., counsel for
                                                     Plaintiffs ASTERO, LLC, a New Jersey
14                                                   limited liability company and ANDREA
15                                                   TANTAROS, an individual

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         Exhibit “A”
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     TIMOTHY J. McILWAIN
 1   ATTORNEY AT LAW, LLC
     89 River Street #1538
 2   Hoboken, New Jersey 07030
     Tel: (877) 375-9599
 3   Fax: (609) 450-7017
     Email: Attorney@McIlwainLaw.com
 4
     JOSEPH C. CANE, JR., ESQ. (CA State Bar No. 173861)
 5   (Pro Hac Vice Application pending)
     jcane@businesslpc.com
 6   CHRISTIAN S. MOLNAR, ESQ. (CA State Bar No. 177665)
     christian@christiansmolnarlaw.com
 7   (Pro Hac Vice Application approved)
 8
     12400 Wilshire Boulevard, Suite 1180
     Los Angeles, California 90025
 9
     Tel: (310) 820-9900
     Fax: (310) 919-1950
10   Attorneys for Plaintiffs ASTERO, LLC, a New Jersey limited liability company, and
11
     ANDREA K. TANTAROS, an individual

12
13
14
                        THE UNITED STATES DISTRICT COURT,

15
                           FOR THE DISTRICT OF NEW JERSEY

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17
     ASTERO, LLC, a New Jersey limited            Case No.: 1:13-cv-06005-NLH-JS
18   liability company; ANDREA K.
19   TANTAROS, an individual,                     FILING OF PROOF OF SERVICE
                                                  OF SUMMONS AND COMPLAINT
20               Plaintiffs,                      ON DEFENDANTS
21
           vs.
22
23   TALK RADIO NETWORK
     ENTERTAINMENT, INC., an Oregon
24   corporation, MARK MASTERS, an
25   individual, and Does 1 through 10,
     inclusive,
26
27               Defendants.
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                                              1
                        FILING OF PROOF OF SERVICE OF
                    SUMMONS AND COMPLAINT ON DEFENDANTS
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 1        Being filed herewith are the Proofs of Service of Summons and Complaint on
 2   Defendants Talk Radio Network, Inc. and Mark Masters.
 3                                               Respectfully submitted,
 4                                               TIMOTHY J. McILWAIN
 5                                               ATTORNEY AT LAW, LLC
 6
 7   Dated: December 9, 2013      By:    /s/ Timothy J. McIlwain
                                               Timothy J. McIlwain,
 8
                                               Joseph C. Cane, Esq.
 9                                             Christian S. Molnar, Esq.
10
                                                 Attorneys for Plaintiffs
11                                               ASTERO, LLC, and
12                                               ANDREA TANTAROS

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                        FILING OF PROOF OF SERVICE OF
                    SUMMONS AND COMPLAINT ON DEFENDANTS
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 1                              CERTIFICATE OF SERVICE
 2         I am over the age of eighteen (18) years, employed in the County of Los Angeles,
 3   and not a party to the above-entitled action. My business address is 12400 Wilshire
 4   Boulevard, Suite 1180, Los Angeles, California 90025.
 5
 6   On December 9, 2013, I served:
 7
 8
                         FILING OF PROOF OF SERVICE OF
                     SUMMONS AND COMPLAINT ON DEFENDANTS
 9
10   To be sent First Class United States Mail to the following:
11
                          Talk Radio Network, Incorporated, Defendant
12                                  225 NE Hillcrest Drive,
                                  Grants Pass, Oregon 97526
13
                                   Mark Masters, Defendant
14                                  225 NE Hillcrest Drive,
                                   Grants Pass, Oregon 97526
15
16
           I declare, under penalty of perjury under the laws of the United States of America
17
     that the foregoing is true and that I am employed in the office of a member of the Bar of
18
     this Court at whose direction the service was made.
19
20
           Executed on December 9, 2013, at Los Angeles, California.
21
22
                                                           /s/ Neelamba J. Molnar
23                                                         Neelamba J. Molnar
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 1                                      INTRODUCTION
 2          1.     This is an action arising out of mergers and agreements through which
 3 Defendants have taken control of, gained market power in, or benefitted from
 4 control of two markets: the “Independent Ad Rep Market,” which consists of the
 5 market for services as an advertising representative for news radio and talk radio
 6 programming that is produced or syndicated by a company that does not also own
 7 radio stations and is not an affiliate of any such owner (an “Independent Ad Rep”);
 8 and the “Satellite Services Market,” which consists of the market for transmission
 9 of radio programming by satellite signal from a producer or syndicator which does
10 not own radio stations and is not an affiliate of any such owner to a radio station,
11 which then broadcasts the programming in its local market.
12          2.     At the same time that they have engaged in this unlawful,
13 anticompetitive conduct, certain Defendants have also routinely ignored binding
14 contractual commitments not to engage in the production or syndication of
15 programming on their own or through affiliates. Those commitments were made
16 to ensure that those Defendants could not have a conflict of interest in their
17 performance of services as an Independent Ad Rep. Those Defendants have
18 disregarded their obligations, however.
19          3.     In addition to violating their promises not to develop a conflict of
20 interest by producing and syndicating programming, the same Defendants have
21 violated contractual commitments not to pursue Plaintiffs’ talent. Those promises
22 were made to avoid creating a situation in which those Defendants were in a
23 position to or had an incentive to use their position as Independent Ad Reps, with
24 resulting levels of access to confidential knowledge concerning certain Plaintiffs’
25 hosts and/or programs, to lure hosts from those Plaintiffs to themselves or their
26 affiliates for their own gain or otherwise to injure Plaintiffs. Despite having made
27 contractual commitments that they would not interfere with those Plaintiffs’
28 relationships with hosts, those Defendants have made numerous efforts to lure
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 1 away talent with whom certain Plaintiffs have existing contractual relationships.
 2 Those Defendants’ conduct would not have been profitable, or likely even
 3 possible, but for their monopoly control over the Independent Ad Rep Market.
 4          4.     In addition to violating federal and state statutes and common law,
 5 Defendants’ conduct poses a significant risk to free speech under the First
 6 Amendment because it holds the prospect of eliminating or substantially reducing
 7 the number of independent talk radio producers and limiting the news radio
 8 broadcasts available. As a consequence of that conduct, the diversity of voices and
 9 viewpoints produced on talk radio is likely to decline.
10                                           PARTIES
11          5.     Plaintiff The Original Talk Radio Network, Inc. (“OTRN”) is an
12 Oregon corporation with its principal place of business at 225 NE Hillcrest Drive,
13 Grants Pass, Oregon 97526.
14          6.     Plaintiff Talk Radio Network Enterprises, LLC (“TRNE”) is an
15 Oregon limited liability company with its principal place of business at 225 NE
16 Hillcrest Drive, Grants Pass, Oregon 97526.
17          7.     Plaintiff Talk Radio Network – FM, Inc. (“TRN-FM”) is a Delaware
18 corporation with its principal place of business at 225 NE Hillcrest Drive, Grants
19 Pass, Oregon 97526.
20          8.     Plaintiff Talk Radio Network Entertainment, Inc. (“TRN-ENT”) is an
21 Oregon corporation with its principal place of business at 225 NE Hillcrest Drive,
22 Grants Pass, Oregon 97526.
23          9.     Plaintiff America’s Radio News Network (“ARNN”) is a Nevada
24 corporation with its principal place of business at 377 S. Nevada Street, Carson
25 City, Nevada 89703.
26          10.    Plaintiff Talk Radio Network Operations, Inc. (“TRNO”) is an
27 Oregon corporation with its principal place of business at 225 NE Hillcrest Drive,
28 Grants Pass, Oregon 97526.
                                              3
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 1          11.    Defendant Dial Global, Inc. (“Dial Global”) is a Delaware corporation
 2 with its principal place of business at 220 West 42nd Street, New York, New York
 3 10036.
 4          12.    Defendant Dial Communications – Global Media, Inc. (“Dial
 5 Communications”) is a Delaware corporation with its principal place of business at
 6 220 West 42nd Street, New York, New York 10036.
 7          13.    Defendant Dial Communications Global Media LLC (“Dial LLC”) is
 8 a Delaware limited liability company with its principal place of business at 220
 9 West 42nd Street, New York, New York 10036.
10          14.    Defendant Excelsior Radio Networks LLC (“Excelsior”) is a
11 Delaware limited liability company doing business as “Triton Radio Networks”
12 with its principal place of business at 220 West 42nd Street, New York, New York
13 10036.
14          15.    Defendant Triton Radio Networks, Inc. (“Triton Radio”) is a
15 Delaware corporation with its principal place of business at 220 West 42nd Street,
16 New York, New York 10036.
17          16.    Defendant Triton Media Group, LLC (“Triton Group”) is a California
18 limited liability company with its principal place of business at 15303 Ventura
19 Blvd., Suite 1500, Sherman Oaks, California 91403.
20          17.    Defendant Triton Media, LLC (“Triton Media”) is a California limited
21 liability company with its principal place of business at 15303 Ventura Blvd., Suite
22 1500, Sherman Oaks, California 91403.
23          18.    Defendant Verge Media Companies, Inc. (“Verge, Inc.”) is a
24 Delaware corporation with its principal place of business at 15303 Ventura Blvd.,
25 Suite 1500, Sherman Oaks, California 91403.
26          19.    Defendant Verge Media Companies, LLC (“Verge LLC”) is a
27 Delaware limited liability company with its principal place of business at 15303
28 Ventura Blvd., Suite 1500, Sherman Oaks, California 91403. Verge LLC was
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 1 formerly known as “Radio Network Holdings, LLC” and is a wholly owned
 2 subsidiary of Dial Global.
 3          20.    Defendant Compass Media Networks LLC (“Compass Media”) is a
 4 New York limited liability company with its principal place of business at 32 Elm
 5 Place, Suite 3N, Rye, New York 10580.
 6          21.    Defendant Compass Media Marketing, LLC (“Compass Marketing”)
 7 is a Delaware limited liability company with its principal place of business at 32
 8 Elm Place, Suite 3N, Rye, New York 10580.
 9          22.    Defendant WYD Media Management LLC (“WYD”) is a Connecticut
10 limited liability company with its principal place of business at 31 Hemlock Ridge
11 Road, Weston, Connecticut 06883.
12          23.    Defendant WYM Media Management LLC (“WYM”) is a
13 Connecticut limited liability company with its principal place of business at 31
14 Hemlock Ridge Road, Weston, Connecticut 06883.
15          24.    Defendant Courtside, LLC (“Courtside”) is a Delaware limited
16 liability company with its principal places of business at 335 North Maple Drive,
17 Suite 127, Beverly Hills, California 90210 and 817 Broadway, Fifth Floor, New
18 York, New York 10003. Upon information and belief, Courtside does business
19 under the trade name Courtside Entertainment Group.
20                              JURISDICTION AND VENUE
21          25.    This Court has subject matter jurisdiction over this action pursuant to
22 28 U.S.C. § 1331 because one or more claims arises under the laws of the United
23 States, pursuant to 15 U.S.C. § 15 and 28 U.S.C. § 1337 because one or more
24 claims is asserted under the Clayton Act, 15 U.S.C. §§ 12-27, and pursuant to 28
25 U.S.C. § 1367 because the claims arising under state law are related to the claims
26 within the Court’s original jurisdiction.
27          26.    Venue is proper pursuant to 15 U.S.C. § 22 because Defendants
28 transact business in this District.
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 1                               FACTUAL BACKGROUND
 2          27.    OTRN, TRNE, TRN-FM, TRN-ENT, and ARNN (collectively, the
 3 “Syndication Plaintiffs”) are engaged in the production and national syndication of
 4 non-music, non-sports, spoken word radio programming, including both news and
 5 talk radio programming (“Spoken Word Syndication”). In particular, OTRN has at
 6 relevant times produced and syndicated The Michael Savage Show, among others;
 7 TRNE produces and syndicates The Jerry Doyle Show and has at relevant times
 8 produced and syndicated The Laura Ingraham Show, among others; TRN-FM
 9 produces and syndicates The Mancow Experience and The Phil Hendrie Show;
10 TRN-ENT produces and syndicates America’s Morning News, among others; and
11 ARNN produces and syndicates four separate three-hour daily weekday news
12 programs, and has at all relevant times produced and syndicated top- and bottom-
13 of-the-hour news reports on a 24-hour per day, 7-day per week basis.
14          28.    As set forth in more detail below, for more than a decade, the
15 Syndication Plaintiffs have retained Dial Global and/or its predecessors
16 (collectively, “Dial”) to sell advertising on the shows that the Syndication
17 Plaintiffs produce and/or syndicate. The Syndication Plaintiffs’ decision to retain
18 Dial was based, in significant part, on Dial’s repeated assurances that it would not
19 engage in the market for Spoken Word Syndication because doing so would create
20 a conflict of interest for Dial. That was crucial for the Syndication Plaintiffs
21 because a syndicator or producer must share a significant amount of confidential,
22 proprietary information with its Independent Ad Rep and because an Independent
23 Ad Rep that also produces or syndicates shows of its own – whether directly or
24 indirectly – has a significant conflict of interest. For purposes of this complaint,
25 programming that an Independent Ad Rep produces or syndicates, whether on its
26 own or through affiliates, is referred to as “conflict-of-interest programming.”
27          29.    Dial (including its predecessors) has repeatedly broken these
28 assurances, promises, and commitments, however. Moreover, during the time that
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 1 the Syndication Plaintiffs have had a relationship with Dial, Dial has engaged in a
 2 series of mergers and other corporate transactions that have left it as the only
 3 meaningful alternative for independent producers or syndicators such as the
 4 Syndication Plaintiffs to hire to sell certain types of advertising on their shows.
 5 Dial’s broken promises and its monopoly power have enabled it to control the
 6 market and enrich itself at the expense of the Syndication Plaintiffs and other
 7 independent producers and syndicators.
 8          A.     The Market for Independent Ad Rep Services
 9          30.    Radio programming can be produced by a station owner (whether
10 directly or through an affiliated entity) or by an independent producer such as the
11 Syndication Plaintiffs. When a station owner produces a show, whether talk radio
12 or some other format, it can place the show on its own stations and sell advertising
13 time on those stations to air during that show. Such vertically integrated entities,
14 which are not directly at issue in this case, are referred to as “integrated networks.”
15 Those stations may or may not license programming from independent producers
16 such as the Syndication Plaintiffs.
17          31.    Clear Channel Communications is an example of a company that
18 operates an integrated network. Clear Channel owns Premiere Networks, Inc.,
19 which syndicates approximately 20 programs of Spoken Word Syndication, such
20 as The Rush Limbaugh Show and The Sean Hannity Show, as well as numerous
21 other programs in other genres (e.g., sports programming). At the same time,
22 Clear Channel owns radio stations throughout the country. Indeed, just in Los
23 Angeles, Clear Channel owns eight separate radio stations, including KTLK-AM
24 1150 and KFI-AM 640.
25          32.    In contrast to an integrated network, the Syndication Plaintiffs and
26 other independent producers or syndicators offer shows that are produced
27 independently. After a show is produced, it is syndicated across a series of radio
28 station affiliates throughout a relevant geographic area. In the Syndication
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 1 Plaintiffs’ case, their shows are syndicated nationally, in as many markets as the
 2 Syndication Plaintiffs can find affiliate stations.
 3          33.    The Syndication Plaintiffs engage in a barter-type exchange with
 4 radio stations pursuant to which the Syndication Plaintiffs provide the stations with
 5 content in exchange for the Syndication Plaintiffs’ right to sell advertising, some of
 6 which is during the Syndication Plaintiffs’ programs and some of which might be
 7 at other specified times throughout the day. The Syndication Plaintiffs generate
 8 revenue by selling commercials on the advertising time that they obtain through
 9 that barter exchange.
10          34.    The Syndication Plaintiffs sell advertising inventory in two different
11 ways: direct response advertising and institutional advertising.
12          35.    Direct response advertising is advertising from companies that seek to
13 make a direct connection with the listener. Such advertising often asks the listener
14 to contact the company directly through a website, an e-mail address, or a toll-free
15 phone number and typically tracks those contacts to measure the response to the
16 advertisements. Direct response advertisers generally purchase advertising on a
17 specific show for a specific cost, generally for one minute of air time. The
18 Syndication Plaintiffs sell direct response advertising both through an affiliated
19 company and through Dial.
20          36.    In contrast to direct response advertising, institutional advertising
21 comes from companies that seek to market a brand image for a product, service, or
22 store and generally do not seek to track the response to specific advertisements via
23 a website, e-mail, or toll-free phone number. Solely by way of example,
24 institutional advertising can include car brands such as Ford, consumer brands such
25 as Tide or Skippy, appliance manufacturers such as Maytag, or national retail
26 chains such as Sears.
27          37.    Companies purchasing air time for institutional advertising generally
28 do so through an agency and do not buy time for a specific show. Instead, they pay
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 1 to reach a certain estimated number of listeners within a relevant demographic.
 2 For example, the principal demographic for national institutional radio advertising
 3 is persons between the ages of 25-54. Institutional advertisers generally therefore
 4 buy time on a bundle of shows packaged together to provide the estimated number
 5 of listeners that they want to reach. The cost of the purchase generally is based on
 6 a single price for the totality of the programming in the bundle of programs that is
 7 subject to the buy.
 8          38.    The programs of the Syndication Plaintiffs and other independent
 9 syndicators, taken separately, do not reach an audience sufficient for institutional
10 advertising. Thus, as a rule, they cannot sell institutional advertising directly to
11 agencies. Instead, they must use the services of an Independent Ad Rep, which
12 pulls together programs from multiple syndicators to offer an agency a bundle of
13 programs having a sufficient number of estimated listeners. This market dynamic
14 creates a nationwide market for the services of Independent Ad Reps – the
15 Independent Ad Rep Market.
16          39.    Independent Ad Reps generally sell agencies a bundle of shows at an
17 agreed-upon cost and then distribute the net proceeds of that sale to the various
18 syndicators whose shows comprised the bundle. Pursuant both to contracts and to
19 industry custom and practice, the Independent Ad Rep should do so in proportion
20 to the audience sizes that those syndicators’ shows contributed to the bundle (but,
21 as explained below, Dial does not). The gross amount of the sale generally is
22 reduced by two commissions before it is distributed to the syndicators. First, the
23 agency that is purchasing the advertising on behalf of a national brand takes a
24 commission, generally referred to as an “agency fee.” Then, the Independent Ad
25 Rep takes a percentage commission (which is generally referred to as a “sales
26 commission” or a “sales rep commission”) out of the remaining money. Only then
27 are the remaining proceeds distributed to the syndicators.
28
                                              9
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 1          40.    By way of example, if an agency were to buy advertising from Dial at
 2 a cost of $1 million for a specified audience size, Dial would, in turn, assemble a
 3 bundle of shows that provides the requisite estimated audience size, potentially
 4 including one or more shows syndicated by the Syndication Plaintiffs. Of the total
 5 $1 million buy, the buyer’s agency generally would take a 15% agency fee off the
 6 top, leaving $850,000 in proceeds. Dial would then take its agreed-upon sales rep
 7 commissions, often 25%, out of the remaining $850,000. That would leave
 8 $637,500 for distribution to the independent syndicators. If the Syndication
 9 Plaintiffs’ shows contributed 50% of the listeners to the overall bundle, then
10 Plaintiffs should receive 50% of the net proceeds, or a total of $318,750.
11          41.    In order for this system to work, the Independent Ad Rep has to be
12 honest about the various aspects of this transaction, including the amount that the
13 advertiser paid for the bundle and the share of listeners that any particular
14 syndicator provided for the bundle. If it is not forthcoming or honest about that,
15 then the opportunity exists for substantial mischief. As explained below,
16 Defendants have taken advantage of that opportunity to enrich themselves through
17 a series of anticompetitive tactics.
18          B.     The Satellite Services Market
19          42.    After an independent producer or syndicator, such as the Syndication
20 Plaintiffs, signs an agreement with a radio station for the station to carry the
21 syndicator’s shows, the syndicator must find a way to deliver its content to the
22 radio station. Typically, that is done via a satellite transmission.
23          43.    In a typical transmission, a syndicator will sign an agreement with a
24 satellite provider for access to one or more channels which the satellite provider
25 has on a satellite. In order to receive a broadcast, a radio station must have a
26 receiver for that particular satellite services provider.
27          44.    For example, under the Dial LLC satellite services system, when one
28 of the Syndication Plaintiffs signs an agreement with a radio station for that station
                                          10
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 1 to carry one of its shows, it transmits the show to that station by satellite
 2 transmission obtained by TRNO, which provides various facilities and services to
 3 various entities, including the Syndication Plaintiffs. TRNO, in turn, contracts
 4 with Dial LLC to secure satellite channel access from Dial LLC. To receive the
 5 applicable show, the station must have the necessary Dial LLC receiver to receive
 6 the satellite signals by which the show is transmitted. If the radio station does not
 7 have a Dial LLC receiver, then it must acquire one.
 8          45.    On information and belief, there are currently only two companies in
 9 the Satellite Services Market that provide satellite services to independent
10 producers and/or syndicators such as the Syndication Plaintiffs: Dial LLC and
11 Cumulus. Although other integrated networks such as Clear Channel may also
12 have their own satellite access for delivery of content to their stations, those other
13 integrated networks generally do not sell their satellite space to independent
14 content producers such as the Syndication Plaintiffs.
15          46.    Upon information and belief, Dial LLC and Cumulus each controls
16 approximately 50% of the Satellite Services Market, and each exercises market
17 power in that market.
18          47.    There are substantial barriers to a new entrant in the Satellite Services
19 Market, including acquisition of satellite space and signing a sufficient number of
20 clients to overcome fixed costs and other barriers.
21          C.     Dial’s Monopolization of the Market for Independent Ad Rep
22                 Services Through Mergers and Collusive Agreements

23          48.    Dial is a product of several mergers and acquisitions. Its predecessors
24 include Dial Communications, Excelsior, Triton Group, Triton Radio Networks,
25 Verge, Inc., and Verge LLC. Of particular note here are two mergers that
26 contributed to the entity that is now Dial.
27          49.    In or about June 2008, Dial acquired Jones Media Group and its
28 operating companies, Jones Media America, Jones Radio Networks, and JonesTM,
                                     11
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 1 from Jones International Ltd. (the “Dial/Jones Merger”). Through that acquisition,
 2 Dial eliminated its major competitor in the Independent Ad Rep Market.
 3          50.    In August 2011, Dial announced an agreement to merge with
 4 Westwood One, Inc. (the “Dial/Westwood Merger”). The Dial/Westwood Merger
 5 was consummated on or about October 21, 2011.
 6          51.    Prior to the Dial/Westwood Merger, Westwood One and Dial
 7 competed in the Satellite Services Market. As part of the Dial/Westwood Merger,
 8 however, Dial was able to combine its satellite services business with Westwood
 9 One’s satellite services business, thus eliminating one of its two competitors and
10 creating a combined entity with a market share of approximately 50%, if not more,
11 and imbuing that entity with market power in the Satellite Services Market.
12          52.    Since its merger with Jones Media, Dial has faced no meaningful
13 competition in the market for Independent Ad Rep Services. Indeed, Dial now has
14 an overwhelming share of that market, which upon information and belief
15 Plaintiffs allege to be over 90%.
16          53.    There are substantial barriers to entry to the Independent Ad Rep
17 Market, due at least in part to significant network effects in that market. In
18 particular, any Independent Ad Rep must have a stable of clients whose shows can
19 be packaged together into bundles of sufficient size to attract larger institutional
20 advertising buys. It also must have requisite relationships with the four major
21 agencies that buy institutional advertising. Indeed, the major agencies have a
22 strong preference for dealing with Independent Ad Reps with which they have a
23 relationship, rather than new market entrants.
24          54.    Although it has a dominant position in the Independent Ad Rep
25 Market, Dial has attempted to create the false appearance of competition in that
26 market.
27          55.    Compass Marketing was formed in late 2011 or early 2012 as an
28 Independent Ad Rep. Although the company ostensibly competes with Dial, Dial
                                     12
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 1 owns 50% of Compass Marketing, and on information and belief, Compass Media
 2 (or its affiliates) also owns a significant stake. Dial provides Compass Marketing
 3 with support systems and marketing services. In fact, even though Compass
 4 Marketing is partly owned by Compass Media (or its affiliates), Compass Media
 5 uses Dial as its Independent Ad Rep, rather than its own affiliated Independent Ad
 6 Rep company.
 7          56.    Plaintiffs were not aware of Dial’s relationships with Compass
 8 Marketing until the first quarter of 2012.
 9          57.    Once Plaintiffs challenged the apparent connections among Dial,
10 Compass Media, and Compass Marketing, Plaintiffs began to notice indications of
11 connections among Dial and WYD and WYM.
12          58.    WYD produces and syndicates Spoken Word Syndication
13 programming. WYD’s founder and owner Ron Hartenbaum worked for Jones
14 Media prior to the Dial/Jones Merger, and the company maintains significant
15 connections with Dial, including involvement with conflict-of-interest
16 programming in which Dial had and apparently maintains an interest. In
17 particular, WYD handles various aspects of: (a) the Michael Smerconish Show, a
18 show that Dial acquired the right to syndicate shortly after the Dial/Jones Merger;
19 (b) the Tom Hartmann Show, a show that Dial initially acquired the right to
20 syndicate in violation of its covenants not to engage in further conflict-of-interest
21 programming; and (c) other shows that are or were affiliated with Dial.
22          59.    Upon information and belief, the transfer of conflict-of-interest
23 programming from Dial to WYD was effected, at least in part, to conceal Dial’s
24 interest in conflict-of-interest programming, which violated Dial covenants not to
25 engage in further conflict-of-interest programming.
26          60.    WYM is an affiliate of WYD that serves as an Independent Ad Rep
27 and offers “affiliate relations” services (i.e., assisting syndicators to find radio
28 stations to carry a show and to handle customer relations with those stations once
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 1 they do). Upon information and belief, WYM was established to conceal actions
 2 taken by Dial in violation of its non-inurement covenants and its covenants not to
 3 engage in further conflict-of-interest programming.
 4          61.    Courtside produces and syndicates Spoken Word Syndication
 5 programs, among other things. Courtside was founded by Norm Pattiz, who also
 6 founded Westwood One. Among other things, Courtside has engaged in joint
 7 efforts with Dial to interfere with the Syndication Plaintiffs’ relationships with
 8 hosts, including Michael Savage and Laura Ingraham. On information and belief,
 9 Courtside is a vehicle through which Dial seeks to conceal that it engages in
10 conflict-of-interest programming in violation of its covenants to the Syndication
11 Plaintiffs.
12          62.    Dial’s arrangements with WYD, WYM, and Courtside are also
13 designed to facilitate efforts by Dial to evade its non-inurement covenants with the
14 Syndication Plaintiffs.
15          D.     Dial’s Relationship with Plaintiffs
16          63.    OTRN became a client of Dial in 2000. At the time, a significant part
17 of OTRN’s selection of Dial as its Independent Ad Rep was Dial’s representation
18 that it did not have a financial interest in any spoken word radio shows and
19 therefore did not have a conflict of interest in marketing OTRN’s programming.
20 Dial expressly advised OTRN of the dangers of contracting with an Independent
21 Ad Rep that had a direct or indirect interest in conflict-of-interest programming
22 and warranted to OTRN that Dial would not engage in Spoken Word Syndication.
23 OTRN chose Dial as its Independent Ad Rep, rather than another firm, based on
24 Dial’s promise that it would never engage in conflict-of-interest programming.
25          64.    TRNE became a client of Dial shortly after TRNE’s formation in
26 2003. At that time, Dial again represented and warranted that Dial did not and
27 would not engage in conflict-of-interest programming.
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 1          65.    TRN-FM became a client of Dial shortly after TRN-FM’s formation
 2 in 2004. At that time, Dial again represented and warranted that Dial did not and
 3 would not engage in conflict-of-interest programming.
 4          66.    TRN-ENT became a client of Dial in 2006, shortly after its formation.
 5 At that time, Dial again represented and warranted that Dial did not and would not
 6 engage in conflict-of-interest programming.
 7          67.    ARNN became a client of Dial in 2010, shortly after its formation. At
 8 the time, Dial further represented and warranted that Dial would not engage in any
 9 conflict-of-interest programming other than the specific Spoken Word Syndication
10 programming to which OTRN, TRNE, TRN-FM, and TRN-ENT consented in the
11 wake of the Dial/Jones Merger. Notably, Dial’s representation to that effect was
12 consistent with contractual commitments it had made to some of the other
13 Syndication Plaintiffs and was important to ARNN.
14          68.    In September 2006, Dial and OTRN entered into a Sales
15 Representation Agreement for The Rusty Humphries Show (the “Humphries Rep
16 Agreement”), pursuant to which OTRN engaged Dial as its sales representative for
17 The Rusty Humphries Show throughout the United States. Under the Humphries
18 Rep Agreement, OTRN agrees to pay Dial a sales rep commission and Dial agrees
19 to try to sell advertising on The Rusty Humphries Show. In addition, Dial agrees
20 not to hire OTRN’s employees, hosts, or agents (all of whom had contact with Dial
21 in connection with its role as OTRN’s sales agent) for a set period of time. The
22 Humphries Rep Agreement also gives OTRN the right to examine Dial’s books
23 and records.
24          69.    On the same day that OTRN and Dial entered into the Humphries Rep
25 Agreement, OTRN and Dial also entered into a Sales Representation Agreement
26 for The Michael Savage Show (the “Savage Rep Agreement”). The Savage Rep
27 Agreement is substantially similar to the Humphries Rep Agreement, including all
28 of the provisions set forth in paragraph 68, above.
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 1          70.    On the same day that OTRN and Dial entered into the Humphries Rep
 2 Agreement, TRNE and Dial entered into a Sales Representation Agreement for
 3 The Jerry Doyle Show (the “Doyle Rep Agreement”). The Doyle Rep Agreement
 4 is substantially similar to the Humphries Rep Agreement, including all of the
 5 provisions set forth in paragraph 68, above.
 6          71.    On the same day that OTRN and Dial entered into the Humphries Rep
 7 Agreement, TRN-FM and Dial entered into a Sales Representation Agreement for
 8 Mancow’s Morning Madhouse (the “Mancow Rep Agreement”). The Mancow
 9 Rep Agreement is substantially similar to the Humphries Rep Agreement,
10 including all of the provisions set forth in paragraph 68, above.
11          72.    On the same day that OTRN and Dial entered into the Humphries Rep
12 Agreement, TRNE and Dial also entered into a Sales Representation Agreement
13 for The Laura Ingraham Show (the “Ingraham Rep Agreement”). The Ingraham
14 Rep Agreement is substantially similar to the Humphries Rep Agreement,
15 including all of the provisions set forth in paragraph 68, above.
16          73.    On October 22, 2007, Dial agreed with OTRN, TRNE, and TRN-FM,
17 as appropriate, to modify each of the Humphries Rep Agreement, the Savage Rep
18 Agreement, the Doyle Rep Agreement, the Mancow Rep Agreement, and the
19 Ingraham Rep Agreement (collectively, the “Rep Agreements”) to expand the non-
20 inurement covenants in the Rep Agreements.
21          74.    After the execution of the Rep Agreements, Dial continued to promise
22 that it would not engage in conflict-of-interest programming.
23          75.    However, despite its repeated representations and contractual
24 commitments to Plaintiffs, Dial did not and has not stayed out of the Spoken Word
25 Syndication business.
26          76.    When it acquired Jones Media, Dial acquired Spoken Word
27 Syndication programming that presented direct conflicts of interest for Dial in
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 1 placing the Syndication Plaintiffs’ programs in program bundles and in properly
 2 allocating the sales proceeds of such program bundles.
 3          77.    The Syndication Plaintiffs voiced concern to Dial about the fact that
 4 Dial was now engaged in conflict-of-interest programming.
 5          78.    As a result of the Syndication Plaintiffs’ concerns, on or about
 6 December 15, 2008, Dial agreed with OTRN, TRNE, and TRN-FM to a second
 7 addendum to each of the Rep Agreements that extends their terms and expressly
 8 sets forth Dial’s promise not to engage in conflict-of-interest programming, with
 9 certain limited exceptions. In addition, both Excelsior and Triton Media executed
10 an Agreement to be Bound, pursuant to which each of those entities agrees that
11 they and any of their entities will be bound by the Second Addenda to the Rep
12 Agreements.
13          79.    In addition to the shows covered by the Rep Agreements, the
14 Syndication Plaintiffs have engaged Dial as an Independent Ad Rep for numerous
15 other shows that they produce and/or syndicate, including but not limited to The
16 Phil Hendrie Show, Science Fantastic, America’s Morning News, The Monica
17 Crowley Show, The Barry Farber Show, Bottom Line On Your Health, Motor
18 News Weekly, and all ARNN programming (including 3-hour news broadcasts and
19 top- and bottom-of-the-hour newscasts, while applicable). Indeed, Dial serves,
20 and, subject to nominal exceptions, has served at all relevant times as the sole
21 Independent Ad Rep for institutional advertising for shows that the Syndication
22 Plaintiffs produce and/or syndicate. Although Dial’s work with respect to those
23 shows is not governed by a written contract, Dial’s role is the same: it sells
24 advertising time on those shows, primarily to institutional advertisers.
25          80.    During the course of their relationships, the Syndication Plaintiffs
26 have provided to Dial confidential business information, including business
27 models, business plans, and financial information. The Syndication Plaintiffs have
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 1 provided this information to Dial specifically to allow Dial to fulfill its role as the
 2 Syndication Plaintiffs’ Independent Ad Rep.
 3          81.    In or about July 2010, TRNO and Dial LLC entered into a Satellite
 4 Services Agreement (the “Satellite Services Agreement”), pursuant to which Dial
 5 LLC provides to TRNO access to satellite communications channels through
 6 which TRNO can transmit radio broadcasts that are produced and/or syndicated by
 7 OTRN, TRNE, TRN-FM, TRN-ENT, and/or ARNN to radio stations.
 8          82.    There is an industry practice that satellite services providers such as
 9 Dial LLC maintain a “wall” between satellite services operations and competition
10 between the satellite provider’s affiliates and their customers. That wall is
11 necessary because a customer must provide a satellite service operator such as Dial
12 LLC with confidential information as to affiliates’ programming arrangements in
13 order to make the relationship work.
14          83.    Dial LLC was provided with necessary confidential information about
15 the Syndication Plaintiffs’ syndication operations, including advance notice of new
16 affiliate contracts and new affiliate start dates, including those start dates that
17 would replace Dial’s conflict-of-interest programming, as well as programming of
18 other Defendants such as Compass Media, Courtside, and/or WYD.
19          D.     Dial’s Anticompetitive Conduct, Breach of Its Contracts with, and
20                 Tortious Conduct Directed Towards Plaintiffs

21          84.    Dial has used its power in the Independent Ad Rep Market to enrich
22 itself at the expense of the Syndication Plaintiffs and other independent producers
23 and/or syndicators.
24          85.    As described above, after Dial sells advertising time to institutional
25 advertisers, it should allocate the resulting revenues in proportion to the estimated
26 audience size generated by each show in an advertising bundle.
27          86.    Dial has not been transparent in its allocations. It does not tell the
28 Syndication Plaintiffs or, to Plaintiffs’ knowledge, other producers or syndicators
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 1 whose shows are included in an advertising bundle what the relative share of
 2 listeners generated by any particular show in the bundle is. Nor does it tell the
 3 Syndication Plaintiffs or other producers or syndicators whose shows are included
 4 in particular bundles or what the advertiser actually paid. Because Dial conceals
 5 this information from the Syndication Plaintiffs and other producers or syndicators,
 6 Dial has the opportunity to manipulate ultimate payments made to the participants
 7 in a particular bundle.
 8          87.    Dial has taken advantage of its opportunity to manipulate the
 9 allocation process by enriching itself. In particular, as Dial has increasingly
10 pushed into the market for Spoken Word Syndication, it has included in advertising
11 bundles programs that it or its affiliates at Compass Media, WYD and/or Courtside
12 produce and/or syndicate. Then, Dial steers outsized shares of the net advertising
13 revenue from institutional advertisers to itself and its affiliates, at the expense of
14 the Syndication Plaintiffs and other independent producers and/or syndicators.
15          88.    Dial is able to steer outsized shares of net advertising revenue to itself
16 because it fails to state the amounts that institutional advertisers have paid or the
17 audience size of each show in the bundle. Dial then either retains the excess for
18 itself or it credits it to a show that it owns, produces, and/or syndicates and that
19 was included in the same advertising bundle. In doing so, Dial also effectively
20 misrepresents to the Syndication Plaintiffs the amounts that the advertiser is paying
21 for the Syndication Plaintiffs’ programming. It is able to do this because it refuses
22 to disclose to the Syndication Plaintiffs or other producers or syndicators the
23 specifics of shows in any particular bundle and, more specifically, the percentage
24 of the audience represented by each show, the separate allocations to each show, or
25 the total amount paid. By misrepresenting the amounts paid for the syndicators’
26 advertising, Dial is able to reduce the disclosed allocation of revenue that it owes
27 to shows that are owned, produced, or syndicated by anyone but Dial and its
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 1 affiliates. Dial then claims an outsized share of the revenue for itself or its
 2 affiliates.
 3          89.    Dial would not be able to engage in this conduct but for its monopoly
 4 power in the Independent Ad Rep Market. If Dial did not have a monopoly, but
 5 rather faced meaningful competition in the Independent Ad Rep Market, Dial
 6 would face competitive pressure to be transparent in handling bundles of programs.
 7 However, Dial faces no such competitive pressure and therefore has no need to be
 8 transparent in its dealings with the Syndication Plaintiffs or any other independent
 9 producers or syndicators.
10          90.    In addition to manipulating the allocations, Dial uses its monopoly
11 power in the Independent Ad Rep Market to advantage its own shows at the
12 expense of shows of other independent producers and/or syndicators, including but
13 not limited to the Syndication Plaintiffs. In particular, Dial includes its shows in
14 more bundles and/or more profitable bundles of shows, at the expense of shows
15 produced and/or syndicated by the Syndication Plaintiffs and other independent
16 producers and/or syndicators.
17          91.    Dial could not engage in such conduct but for its monopoly power in
18 the Independent Ad Rep Market. In particular, if Dial faced any meaningful
19 constraint on its market power, it would be forced to include shows from other
20 producers, even at the expense of its own shows.
21          92.    Dial’s results, as reported to the Syndication Plaintiffs, for 2012
22 illustrate the effect of Dial’s manipulation, as Dial claims that its institutional sales
23 in that year for the Syndication Plaintiffs’ programs have decreased so
24 substantially as to be strikingly suspicious.
25          93.    Pursuant to their rights under the Rep Agreements, the Syndication
26 Plaintiffs have sought access to Dial’s books and records relating to the sale of
27 advertising on the Syndication Plaintiffs’ shows, but Dial has refused to permit the
28 Syndication Plaintiffs to conduct any such audit. The Syndication Plaintiffs have
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 1 therefore been unable to determine the exact amount by which they have been
 2 underpaid.
 3          94.    Dial’s conduct, all of which is a product of its power in the
 4 Independent Ad Rep Market, has a significant effect on consumers and consumer
 5 welfare, in several respects.
 6                 a.     Producers and syndicators, who are the consumers of Dial’s
 7 services as an Independent Ad Rep, must pay what amounts to a higher price to
 8 Dial for Dial’s services because each of them must accept that its shows will
 9 receive a smaller share of the revenue than shows that Dial or its affiliates control.
10 The net effect of that conduct is the same as if Dial were to use its market power to
11 raise its commission rates – syndicators and producers receive less than they
12 otherwise would because Dial has market power.
13                 b.     Because producers and syndicators receive less revenue from
14 Dial, they produce fewer shows. Relatedly, as Dial consolidates shows to its own
15 account or the account of its affiliates, it becomes increasingly able to exclude
16 other producers and syndicators from its bundles entirely. As a result, those
17 producers and syndicators cannot sell advertising time to institutional advertisers,
18 and many therefore are forced to stop producing or syndicating shows. As a result
19 of all of this, there are fewer shows produced in total, and the listening public has
20 fewer options from which to choose. As described in more detail below, CNN
21 Radio and ARNN’s short form, top-of-the-hour newscasts are examples of
22 products that Dial’s anticompetitive conduct have driven from the market, thus
23 diminishing total output and reducing consumer choice.
24                 c.     Just as listeners have fewer shows from which to choose, so too
25 do advertisers, which is another form of the consuming public here.
26          95.    Contrary to their representations and contractual commitments, Dial,
27 Excelsior, and Triton Media have not refrained from engaging in further conflict-
28 of-interest programming in the market for Spoken Word Syndication. To the
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 1 contrary, as a result of the Dial/Westwood Merger, and other activities, Dial has
 2 confirmed that it now has an interest in several programs in the Spoken Word
 3 Syndication market, which directly breach and violate its agreements with and
 4 commitments to the Syndication Plaintiffs, both directly and via its arrangements
 5 with Courtside, Compass Media, and WYD, among others.
 6          96.    Dial and its affiliates have used the Syndication Plaintiffs’ proprietary
 7 business models, plans, and information to develop the strategies for expanding the
 8 Defendants’ business activities into the intellectual rights ownership inherent in the
 9 production and ownership of programming content in the Independent Spoken
10 Word Syndication market.
11          97.    Dial LLC has not maintained the requisite separation between its
12 operations and the operations of Dial and its affiliates. To the contrary, Dial LLC
13 has sought to use Plaintiffs’ orders for satellite services, which are confidential and
14 provided to Dial LLC only to implement the Satellite Services Agreement, to
15 permit Dial and other Defendants to promote shows that one or more Defendants
16 owns, produces, and/or syndicates and/or to interfere with or delay the placement
17 of the Syndication Plaintiffs’ programming with certain radio affiliates.
18          98.    Dial LLC has failed to use its best efforts to address satellite services
19 issues for the Syndication Plaintiffs’ programs in order to harm the Syndication
20 Plaintiffs. In particular, Dial LLC has either refused or delayed responding to
21 requests by radio stations and by the Syndication Plaintiffs to transmit to the
22 stations programs that are syndicated by the Syndication Plaintiffs. In many of
23 those cases, the station in question was seeking to replace one of Dial’s conflict-of-
24 interest programs with one of the Syndication Plaintiffs’ programs. Thus, Dial
25 LLC’s conduct caused harm to the Syndication Plaintiffs and advantaged Dial.
26 Dial LLC’s conduct is at odds with its obligations under the Satellite Services
27 Agreement.
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 1          99.    In addition, Dial LLC has, at times, informed radio stations that
 2 wanted to receive one or more of the Syndication Plaintiffs’ programs that Dial
 3 LLC would not change the satellite feed delivered to that radio station unless the
 4 station either first obtained permission from a business person within Dial or the
 5 station also agreed to carry one or more of Dial’s conflict-of-interest programs
 6 such as The Neal Boortz Show.
 7          100. Dial LLC’s conduct would not be possible but for the market power
 8 that it maintains in the Satellite Services Market because it would face significant
 9 competitive pressure to adhere to industry custom and keep its operations separate
10 from other entities or divisions within Dial that engage in conflict-of-interest
11 programming.
12          101. Some Defendants have on multiple occasions interacted improperly
13 with some of the hosts with whom Plaintiffs have ongoing contractual
14 relationships, notably including Michael Savage and Laura Ingraham. In
15 particular, Dial and Courtside jointly interfered with OTRN’s agreements with
16 Savage and Ingraham in multiple respects.
17          102. In November 2010, Courtside sent to Savage a proposed term sheet
18 that purported to set forth the material terms of an agreement between Courtside
19 and Savage. OTRN had a contractual right to match Courtside’s offer sheet, and
20 Savage therefore conveyed the term sheet to OTRN on or about November 17,
21 2010. On November 30, 2010, OTRN matched Courtside’s term sheet. Savage
22 challenged whether OTRN had in fact matched, and an arbitration panel ultimately
23 ruled in OTRN’s favor.
24          103. On December 1, 2010, OTRN advised Courtside by letter of its
25 decision to match the term sheet for Savage and to advise Courtside that OTRN
26 therefore had an exclusive relationship with Savage. On December 14, 2010,
27 OTRN again advised Courtside of its decision to match Courtside’s term sheet for
28 Savage and explained that there was a binding and enforceable contract between
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 1 OTRN and Savage. OTRN explained to Courtside that, at that point, any effort by
 2 Courtside to secure Savage’s services would be inconsistent with, and interfere
 3 with, OTRN’s relationship with Savage.
 4          104. Despite its knowledge of Savage’s contractual commitment to OTRN,
 5 Courtside did not cease its efforts to recruit Savage. To the contrary, it persisted in
 6 its efforts. Among other things, even after OTRN matched Courtside’s term sheet,
 7 Courtside continued to spread knowingly false rumors at industry conferences that
 8 Savage would soon be under contract with Courtside. Indeed, as late as August
 9 2011, Courtside was spreading such rumors.
10          105. On information and belief, Dial joined in Courtside’s efforts to recruit
11 Savage, including its efforts to interfere with OTRN’s agreement with Savage.
12 Dial enlisted Courtside in this effort to avoid breaching its own contractual
13 commitments to OTRN. However, Courtside’s term sheet for Savage’s services
14 expressly contemplated that Dial would provide both affiliate and advertising sales
15 services (i.e., serve as an ad rep). Moreover, the term sheet contemplated that, if
16 Savage moved to Courtside, then Courtside would exercise control over Dial in
17 various respects, including by “causing Dial to agree” that Savage’s show would
18 be distributed on regularly-scheduled basis and ensuring that there was no “pay-or-
19 play” alternative.
20          106. Upon information and belief, both Dial and Courtside maintained
21 direct contact with Savage even after OTRN exercised its right to match the term
22 sheet. For example, Savage’s arbitration claims with OTRN were conducted
23 confidentially. Yet shortly after the decision affirming OTRN’s match was
24 rendered, and without OTRN informing anyone of the decision, a representative of
25 Dial made reference to the decision at an industry conference in September 2011.
26 Because OTRN did not tell Dial (or anyone else) about that ruling, Dial could only
27 have learned about it directly from Savage or indirectly through Courtside. Either
28 way, it is evidence of improper contact that Dial and/or Courtside had with Savage.
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 1          107. On information and belief, Dial and/or Courtside continued to
 2 interfere with the relationship between Savage and OTRN even after the arbitration
 3 ruling, in an effort to lure Savage to Courtside and/or Dial, ultimately giving rise to
 4 the end of the relationship between Savage and OTRN. OTRN has been damaged
 5 as a result.
 6          108. Dial and Courtside engaged in similar efforts with respect to Laura
 7 Ingraham, ultimately resulting in the end of that relationship, as well. Within a
 8 month of the end of that relationship – a notably short period of time in the
 9 industry – Ingraham and Courtside announced a new show to be hosted by
10 Ingraham for Courtside, which began broadcasting on January 2, 2013. On
11 information and belief, Dial serves as an ad rep for that show, despite its
12 commitment in the Ingraham Ad Rep Agreement not to do so.
13          109. Dial has used its power in the Satellite Services Market to aid
14 Courtside’s launch of Courtside’s show with Ingraham. In particular, because
15 TRNE syndicated its show with Ingraham, radio station affiliates that received the
16 show did so on a satellite channel that TRNO rents from Dial LLC. When
17 Courtside launched its new show with Ingraham, Dial LLC immediately switched
18 various stations’ receivers to receive the new Ingraham show distributed by
19 Courtside. Dial’s actions evidence Dial’s interest in the success of Courtside’s
20 new show hosted by Ingraham.
21          110. On information and belief, Dial and Courtside were negotiating with
22 Ingraham on the parameters of a contract even before the end of her contract with
23 TRNE. This is evidenced by the fact that Ingraham asked TRNE for detailed
24 information about the TRNE show hosted by Ingraham – including financial
25 information, sponsorship information, and specific affiliate agreement terms –
26 during the final months of the TRNE/Ingraham relationship. It is further evidenced
27 by the speed with which Courtside and Dial were able to launch her show.
28
                                              25
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
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 1          111. The effect of Dial’s market power in the Satellite Services Market
 2 coupled with its market power in the Independent Ad Rep Market is clearly
 3 illustrated by Dial’s ability to drive CNN Radio and ARNN from the market for
 4 top- and bottom-of-the-hour newscasts.
 5          112. For approximately 25 years, CNN Radio was an independent producer
 6 and syndicator of CNN-branded newscasts. CNN used Dial as its Independent Ad
 7 Rep at all relevant times, and Dial also provided CNN with other services, such as
 8 affiliate relations. However, in early 2012, Dial informed CNN that Dial was
 9 terminating all of the services that it provided to CNN Radio, including services as
10 an Independent Ad Rep. Dial confirmed that fact in writing in a letter dated on or
11 about March 1, 2012, which provided 30-days notice of Dial’s termination of
12 services to CNN. Because Dial terminated its services as an Independent Ad Rep
13 to CNN, CNN had no avenue through which it could sell institutional advertising
14 on its newscasts. As a result, there was no economically viable way for CNN
15 Radio to continue to remain in the market, and it therefore terminated its radio
16 newscasts on or about April 1, 2012, only 7 months before a Presidential election.
17          113. Dial had a significant economic incentive to drive CNN Radio out of
18 the market because Dial has a licensing arrangement with NBC Radio pursuant to
19 which Dial pays a set licensing fee to use the NBC Radio name for newscasts.
20 Dial produces and syndicates those NBC Radio-branded newscasts, and it sells
21 advertising on them. It also serves as the Independent Ad Rep for them. Thus, if
22 Dial can place and then sell advertisements on NBC Radio-branded newscasts, it
23 can earn substantial profits of its own.
24          114. After Dial drove CNN Radio from the market, it continued to take
25 advantage of its market dominance. When CNN Radio announced that it was
26 withdrawing from the market, ARNN introduced a new, short-form top-of-the-hour
27 newscast to the market as a replacement for CNN Radio. ARNN then began
28 contacting former CNN Radio-affiliated radio stations to solicit those stations as
                                      26
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
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 1 potential affiliates for ARNN’s new newscast. While those solicitations were
 2 going on, Armed Forces Radio Network chose ARNN’s newscast for its own
 3 network, thus indicating its quality and reach.
 4          115. Dial, however, prevented former CNN affiliates from selecting
 5 ARNN’s newscast. In particular, Dial LLC refused to permit numerous radio
 6 stations to change the channel on their satellite receiver to receive ARNN’s
 7 newscast. Instead, on information and belief, Dial informed those stations that
 8 they were “deemed” to be affiliates of NBC Radio, even though the stations had no
 9 affiliation agreement with NBC Radio. Dial then announced to the market that
10 NBC Radio had more than 700 affiliates for newscasts, even though the vast
11 majority of those stations had not signed affiliation agreements for NBC Radio
12 newscasts. By issuing that press release, Dial created the false impression that
13 NBC Radio newscasts were widely accepted, when in fact they were not. Dial also
14 falsely claimed difficulties in providing ARNN’s newscasts via Dial LLC’s
15 satellite channels, which the Syndication Plaintiffs were entitled to use, and failed
16 to provide proper Independent Ad Rep Services for the sale of advertising on
17 ARNN’s top- and bottom-of-the-hour newscasts.
18          116. Dial’s actions prevented numerous radio stations from affiliating with
19 ARNN for its newscasts and materially depressed ARNN’s revenue stream for the
20 newscasts. As a result, ARNN was forced to cease its short-form top-of-the-hour
21 newscasts as of December 31, 2012. Thus, Dial’s actions forced at least two
22 potential competitors from the market – CNN Radio and ARNN – to clear the way
23 for Dial’s own NBC Radio-branded newscasts.
24          117. ARNN has been injured as a result of Dial’s conduct, which would
25 not have been possible but for Dial’s market power in both the Independent Ad
26 Rep Market and the Satellite Services Market.
27
28
                                              27
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
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 1                           FIRST CAUSE OF ACTION
 2                 (Monopolization of the Independent Ad Rep Market)
                             (Syndication Plaintiffs vs. Dial)
 3
 4          118. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
 5 117, above.
 6       119. The Independent Ad Rep Market is a discrete, nationwide product
 7 market for the services of an Independent Ad Rep – i.e., a company that can bundle
 8 shows produced by independent syndicators and/or producers and sell advertising
 9 on those shows to institutional advertisers.
10          120. Dial has monopoly power in the Independent Ad Rep Market by
11 virtue of its 90% market share in that market.
12        121. Dial willfully acquired and maintained its monopoly in the
13 Independent Ad Rep Market by its acts and practices described above, including its
14 conduct with respect to allocation of advertising revenues to independent
15 producers such as the Syndication Plaintiffs, all in violation of Section 2 of the
16 Sherman Antitrust Act, 15 U.S.C. § 2.
17          122. The goal, purpose, and/or effect of Defendants’ scheme was to reduce
18 payments made to independent syndicators such as the Syndication Plaintiffs by
19 steering money to Dial and/or its affiliates via improper allocations and other
20 improper practices.
21      123. The Syndication Plaintiffs have been injured in their business and
22 property by reason of Defendants’ unlawful conduct. In particular, as a result of
23 Dial’s violations, Dial’s payments to the Syndication Plaintiffs and to other
24 independent producers have been lower than they otherwise would have been.
25       124. Dial’s conduct affected both the Syndication Plaintiffs and most, if
26 not all, other consumers of Dial’s services (i.e., independent producers and
27 syndicators). It also eliminates shows from the market, with CNN Radio being one
28
                                              28
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
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 1 such example. It therefore diminishes consumer choice and damages consumer
 2 welfare.
 3          125. This unlawful conduct threatens continuing loss and damage to the
 4 Syndication Plaintiffs if not enjoined by this Court.
 5                         SECOND CAUSE OF ACTION
 6           (Attempted Monopolization of the Independent Ad Rep Market)
                            (Syndication Plaintiffs vs. Dial)
 7
 8          126. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
 9 125, above.
10       127. If Dial does not already have monopoly power, then Dial has a
11 dangerous probability of success in achieving monopoly power in the Independent
12 Ad Rep Market.
13      128. With the specific intent to achieve a monopoly, Dial, by its acts and
14 practices described herein, including its conduct with respect to allocation of
15 advertising revenues to independent producers such as the Syndication Plaintiffs,
16 has attempted to monopolize the Independent Ad Rep Market, in violation of
17 Section 2 of the Sherman Antitrust Act, 15 U.S.C. § 2.
18          129. The goal, purpose, and/or effect of Defendants’ scheme was to reduce
19 payments made to independent syndicators such as Plaintiffs by steering money to
20 Defendants and/or their affiliates.
21          130. The Syndication Plaintiffs have been injured in their business and
22 property by reason of Defendants’ unlawful conduct. In particular, as a result of
23 Dial’s violations, Dial’s payments to the Syndication Plaintiffs and to other
24 independent producers have been lower than they otherwise would have been.
25       131. This unlawful conduct threatens continuing loss and damage to
26 Plaintiffs and to competition in the market more generally if not enjoined by this
27 Court.
28
                                              29
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
       TORTIOUS INTERFERENCE WITH CONTRACT AND PROSPECTIVE ADVANTAGE, AND OTHER STATE LAW CLAIMS
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 1                              THIRD CAUSE OF ACTION
 2            (Conspiracy to Monopolize the Independent Ad Rep Market)
      (Syndication Plaintiffs vs. Dial, Compass Media, Compass Marketing and WYM)
 3
 4          132. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
 5 131, above.
 6       133. Defendants shared a conscious commitment to a common scheme
 7 designed to achieve the unlawful objective of the monopolization of the
 8 Independent Ad Rep Market.
 9       134. At the time of the agreement, Dial, Compass Media, and WYM were
10 actual and/or potential competitors in the Independent Ad Rep Market.
11        135. Defendants conspired with the specific intent, knowledge, and
12 purpose that their anticompetitive agreement would result in Dial willfully
13 acquiring and maintaining a monopoly in the Independent Ad Rep Market.
14          136. Compass Media and WYM knew that the natural and probable
15 consequences of their agreements with Dial would be the monopolization of the
16 relevant market by Dial.
17          137. Defendants have committed overt acts in furtherance of their
18 conspiracy. For example, Compass Media entered into an agreement with Dial to
19 set up Compass Marketing, and Compass Media and Compass Marketing have
20 continued to present Compass Marketing as an independent competitor to Dial,
21 when it in fact it is not. Similarly, on information and belief, WYM has engaged in
22 marketing for conflict-of-interest programming in an effort to avoid evidence of
23 Dial’s involvement. Thus, Defendants have entered into, complied with, and
24 implemented agreements relating to allocation of advertising revenues in the
25 Independent Ad Rep Market, in violation of Section 2 of the Sherman Antitrust
26 Act, 15 U.S.C. § 2.
27       138. But for the Defendants’ conspiracy to monopolize, Defendants or their
28 competitors would have honestly allocated revenues generated by shows within an
                                       30
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
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 1 advertising bundle, and the Syndication Plaintiffs and other independent
 2 syndicators would have been paid more as a result.
 3          139. The Syndication Plaintiffs have been injured in their business and
 4 property by reason of Defendants’ unlawful conduct. During the relevant period,
 5 Defendants sold significant numbers of advertisement bundles including the
 6 Syndication Plaintiffs’ shows, and, as a result of the illegal conduct alleged herein,
 7 the Syndication Plaintiffs were not paid a market rate for the advertising time on
 8 the shows that they produce.
 9          140. This unlawful conduct threatens continuing loss and damage to
10 Plaintiffs if not enjoined by this Court.
11                            FOURTH CAUSE OF ACTION
12                     (Unlawful Agreement in Restraint of Trade)
            (Syndication Plaintiffs vs. Dial, Compass Marketing, Compass Media,
13                                     WYD, and WYM)
14          141. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
15 140 of the Complaint.
16       142. Dial, Compass Marketing, and WYM were, ostensibly, actual
17 competitors in the Independent Ad Rep Market.
18      143. Those Defendants, Compass Media, and WYD engaged in a
19 continuing illegal contract, combination, and conspiracy in restraint of trade, the
20 purpose and effect of which was to create the false appearance of competition in
21 the Independent Ad Rep Market, allocate the Independent Ad Rep Market between
22 them, and fix and/or misallocate amounts that Independent Ad Reps would have to
23 pay independent producers such as the Syndication Plaintiffs.
24       144. Defendants shared a conscious commitment to a common scheme
25 designed to achieve the unlawful objective of controlling and/or dividing the
26 Independent Ad Rep Market.
27          145. By entering into such unlawful agreements, Defendants have
28 unlawfully conspired in restraint of trade and violated Section 1 of the Sherman
                                          31
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
       TORTIOUS INTERFERENCE WITH CONTRACT AND PROSPECTIVE ADVANTAGE, AND OTHER STATE LAW CLAIMS
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 1 Act, 15 U.S.C. § 1. Defendants’ agreements constitute a horizontal market
 2 allocation and price-fixing agreement between actual or potential competitors, and
 3 this is a per se violation of Section 1.
 4          146. In the alternative, Defendants’ agreements are an unreasonable
 5 restraint of trade in violation of Section 1 under either a “quick look” or a “rule of
 6 reason” analysis. There are no precompetitive justifications for the agreements
 7 between Dial and the other Defendants. On the other hand, there are significant
 8 anticompetitive effects as a result of those agreements.
 9          147. But for this unlawful agreement, the Defendants would have
10 competed in the Independent Ad Rep Market, and as a result, Defendants would
11 have paid more to independent producers such as the Syndication Plaintiffs.
12          148. The Syndication Plaintiffs have been injured in their business and
13 property by reason of the unlawful contract, combination, and/or conspiracy.
14 During the relevant period, Defendants sold significant numbers of advertisement
15 bundles including the Syndication Plaintiffs’ shows, and, as a result of the illegal
16 conduct alleged herein, the Syndication Plaintiffs were not paid a market rate for
17 the advertising time on the shows that they produce.
18          149. This unlawful conduct threatens continuing loss and damage to
19 Plaintiffs if not enjoined by the Court.
20                              FIFTH CAUSE OF ACTION
21                   (Violation of Clayton Act § 7 – Dial/Jones Merger)
                               (Syndication Plaintiffs vs. Dial)
22
23          150. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
24 149 of the Complaint.
25       151. Dial directly or indirectly acquired assets of its competitor Jones
26 Media, the effect of which was likely to reduce competition or to create a
27 monopoly in the Independent Ad Rep Market, in violation of Section 7 of the
28 Clayton Act, 15 U.S.C. § 18.
                                              32
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
       TORTIOUS INTERFERENCE WITH CONTRACT AND PROSPECTIVE ADVANTAGE, AND OTHER STATE LAW CLAIMS
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 1          152. As a result of Dial’s acquisition and the anticompetitive conduct
 2 enabled thereby as set forth herein, Plaintiffs have been injured in their business or
 3 property in the form of receiving lower advertising revenues than they would have
 4 received but for the merger.
 5                              SIXTH CAUSE OF ACTION
 6              (Violation of Clayton Act § 7 – Dial/Compass Agreement)
          (Syndication Plaintiffs vs. Dial, Compass Marketing, and Compass Media)
 7
 8          153. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
 9 152 of the Complaint.
10          154. Dial directly or indirectly acquired assets of its competitor Compass
11 Media, the effect of which was likely to reduce competition or to create a
12 monopoly in the Independent Ad Rep Market, in violation of Section 7 of the
13 Clayton Act, 15 U.S.C. § 18.
14          155. As a result of Dial’s acquisition and the anticompetitive conduct
15 enabled thereby as set forth herein, Plaintiffs have been injured in their business or
16 property in the form of receiving lower advertising revenues than they would have
17 received but for the merger.
18                           SEVENTH CAUSE OF ACTION
19                (Violation of Clayton Act § 7 – Dial/Westwood Merger)
                              (Plaintiffs vs. Dial and Dial LLC)
20
21          156. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
22 155 of the Complaint.
23       157. Dial directly or indirectly acquired assets of Westwood One, the effect
24 of which was likely to reduce competition or to create a monopoly in the
25 Independent Ad Rep Market and/or the Satellite Services Market, in violation of
26 Section 7 of the Clayton Act, 15 U.S.C. § 18.
27
28
                                              33
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
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 1          158. As a result of Dial’s acquisition and the anticompetitive conduct
 2 enabled thereby as set forth herein, Plaintiffs have been injured in their business or
 3 property in the form of receiving advertising revenues than they would have
 4 received but for the merger.
 5                           EIGHTH CAUSE OF ACTION
 6                    (Monopolization of the Satellite Services Market)
                             (Plaintiffs vs. Dial and Dial LLC)
 7
 8          159. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
 9 158, above.
10       160. Dial has monopoly power in the Satellite Services Market.
11          161. Dial willfully acquired and maintained its monopoly in the Satellite
12 Services Market by its acts and practices described above, in violation of Section 2
13 of the Sherman Antitrust Act, 15 U.S.C. § 2.
14          162. The goal, purpose, and/or effect of Dial’s scheme was to reduce the
15 opportunities for distribution of shows by the Syndication Plaintiffs and other
16 independent producers and/or syndicators.
17          163. The Syndication Plaintiffs have been injured in their business and
18 property by reason of Defendants’ unlawful conduct.
19       164. This unlawful conduct threatens continuing loss and damage to the
20 Plaintiffs if not enjoined by this Court.
21                             NINTH CAUSE OF ACTION
              (Attempted Monopolization of the Satellite Services Market)
22                            (Plaintiffs vs. Dial and Dial LLC)
23
          165. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
24
   164, above.
25
          166. If Dial does not already have monopoly power, then Dial has a
26
   dangerous probability of success in achieving monopoly power in the Satellite
27
   Services Market.
28
                                            34
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
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 1          167. With the specific intent to achieve a monopoly, Dial, by its acts and
 2 practices described herein, has attempted to monopolize the Satellite Services
 3 Market, in violation of Section 2 of the Sherman Antitrust Act, 15 U.S.C. § 2.
 4          168. The goal, purpose, and/or effect of Dial’s scheme was to reduce the
 5 opportunities for distribution of shows by the Syndication Plaintiffs and other
 6 independent producers and/or syndicators.
 7          169. The Syndication Plaintiffs have been injured in their business and
 8 property by reason of Defendants’ unlawful conduct.
 9          170. This unlawful conduct threatens continuing loss and damage to
10 Plaintiffs if not enjoined by this Court.
11                             TENTH CAUSE OF ACTION
12                       (Breach of Contract – Ad Rep Agreements)
                               (Syndication Plaintiffs vs. Dial)
13
14          171. Plaintiffs incorporate by reference paragraphs 1 - 170 of the
15 Complaint, above.
16     172. The Syndication Plaintiffs have entered into several contracts with
17 Dial, both written and unwritten. The written contracts are the Ad Rep
18 Agreements described above. Pursuant to the unwritten contracts, the Syndication
19 Plaintiffs have hired Dial as an Independent Ad Rep for all of their shows not
20 covered by the Ad Rep Agreements.
21          173. Dial has violated one or more obligations that it owes to the
22 Syndication Plaintiffs under each of the contracts described above. Dial’s
23 contractual violations include the misuse of confidential information provided to it
24 pursuant to the Agreements, underpayment of advertising revenues earned, the
25 failure to include the Syndication Plaintiffs’ shows in appropriate advertising
26 bundles, failure to represent the Syndication Plaintiffs to the best of Dial’s ability,
27 the inclusion of the Syndication Plaintiffs’ shows only in less favorable bundles,
28 the acquisition and/or maintenance of conflict-of-interest programming, improper
                                        35
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
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 1 contacts or other inducements with the Syndication Plaintiffs’ hosts and/or refusal
 2 to permit the Syndication Plaintiffs access to Dial’s books and accounting records.
 3          174. Plaintiffs have been damaged as a result of Dial’s conduct.
 4          175. The accounts of Dial’s sales of bundles are so complicated that
 5 calculating an ordinary fixed sum as a measure of damages is likely impracticable.
 6                         ELEVENTH CAUSE OF ACTION
 7                  (Breach of Contract – Satellite Services Agreement)
                                 (Plaintiffs vs. Dial LLC)
 8
 9          176. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
10 175 of the Complaint.
11       177. The Satellite Services Agreement is a valid, existing contract between
12 TRNO and Dial LLC.
13     178. The Syndication Plaintiffs are intended third party beneficiaries of the
14 Satellite Services Agreement because the Satellite Services Agreement is intended
15 to provide a means to distribute their shows to affiliate stations to broadcast in their
16 respective local areas.
17       179. Dial LLC has breached its obligations under the Satellite Services
18 Agreement, including but not limited to its obligation to keep confidential the
19 proprietary materials that have been provided to it as necessary to execute the
20 Satellite Services Agreement and the obligation to provide satellite services as
21 directed.
22          180. Plaintiffs have been damaged as a result of Dial LLC’s breach of the
23 Satellite Services Agreement.
24                         TWELFTH CAUSE OF ACTION
25                           (Breach of Fiduciary Duty)
                            (Syndication Plaintiffs vs. Dial)
26
27          181. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
28 180 of the Complaint.
                                              36
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
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 1          182. The Syndication Plaintiffs and Dial were parties to a fiduciary
 2 relationship because, when Dial acts as an Independent Ad Rep on the Syndication
 3 Plaintiffs’ behalf, it is acting as the Syndication Plaintiffs’ agent.
 4          183. Dial breached its fiduciary relationship with the Syndication Plaintiffs
 5 by using the Syndication Plaintiffs’ confidential and proprietary business
 6 information, which the Syndication Plaintiffs provided to Dial only because Dial
 7 was acting as their agent, to facilitate Defendants’ own conflict-of-interest
 8 programming to the Syndication Plaintiffs’ detriment and/or to the advantage of
 9 Dial’s conflict-of-interest programming. Dial therefore violated its obligations to
10 the Syndication Plaintiffs.
11          184. Plaintiffs have been damaged as a result of Dial’s actions.
12                        THIRTEENTH CAUSE OF ACTION
13        (Tortious Interference with Contractual Relations and Conspiracy to
                     Tortiously Interfere with Contractual Relations)
14         (Syndication Plaintiffs vs. Dial, Courtside, WYD, and Compass Media)
15
16          185. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
17 184 of the Complaint.
18          186. The Syndication Plaintiffs have or have had contracts with numerous
19 hosts, including but not limited to Michael Savage and Laura Ingraham.
20          187. Dial, WYD, Compass Media, and Courtside were aware of the
21 Syndication Plaintiffs’ relationships with their hosts. Those Defendants formed a
22 conspiracy designed to rupture one or more of those relationships.
23          188. One or more of those Defendants has taken an intentional, overt act to
24 induce one or more hosts, including Michael Savage and Laura Ingraham, to
25 breach their contracts with the Syndication Plaintiffs or otherwise to disrupt the
26 Syndication Plaintiffs’ contractual relationships with those hosts.
27
28
                                              37
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
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 1          189. There has been an actual breach or disruption of the Syndication
 2 Plaintiffs’ contractual relations with Michael Savage and Laura Ingraham as a
 3 result of that conduct.
 4          190. The Syndication Plaintiffs have been damaged as a result of that
 5 conduct.
 6                        FOURTEENTH CAUSE OF ACTION
 7            (Tortious Interference with Prospective Contractual Relations)
                        (Syndication Plaintiffs vs. Dial and Dial LLC)
 8
 9          191. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
10 190 of the Complaint.
11       192. Plaintiffs have economic relationships with affiliate stations, and they
12 have a probability of economic benefit from those relationships.
13       193. Dial and Dial LLC are aware of Plaintiffs’ relationships with affiliate
14 stations.
15        194. Dial and Dial LLC have acted to disrupt the Syndication Plaintiffs’
16 relationships with affiliate stations by delaying implementation of satellite service
17 orders and otherwise interfering with affiliate relations between the Syndication
18 Plaintiffs and their affiliate stations relating to providing the Syndication Plaintiffs’
19 programming via satellite to their radio station affiliates.
20       195. Dial’s and Dial LLC’s conduct has disrupted the Syndication
21 Plaintiffs’ relationships with affiliate stations.
22        196. Dial’s and Dial LLC’s actions have proximately caused economic
23 harm to Plaintiffs.
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                                              38
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
       TORTIOUS INTERFERENCE WITH CONTRACT AND PROSPECTIVE ADVANTAGE, AND OTHER STATE LAW CLAIMS
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 1                          FIFTEENTH CAUSE OF ACTION
 2                             (Violation of Cartwright Act)
               (Syndication Plaintiffs vs. Dial, Compass Marketing, and WYM)
 3
 4          197. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
 5 196 of the Complaint.
 6       198. Dial, Compass Marketing and WYM have agreed and/or conspired to
 7 combine their resources for the purpose of restraining commerce and preventing
 8 competition in the market for Independent Ad Rep Services.
 9          199. Those Defendants have taken illegal actions in furtherance of their
10 agreement.
11        200. Those Defendants conduct violates the Cartwright Act, Cal Bus. and
12 Prof. Code § 16700 et seq.
13          201. Plaintiffs have suffered economic damage as a proximate result of
14 those acts.
15                          SIXTEENTH CAUSE OF ACTION
16                     (Violation of Cal. Bus. and Prof. Code § 17200)
                                  (Plaintiffs vs. Defendants)
17
18          202. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
19 201 of the Complaint.
20       203. Each of the Defendants has engaged in unfair competition by virtue of
21 an unlawful act, as follows:
22             a.      Dial and Dial LLC have unlawfully monopolized or attempted
23 to monopolize the Independent Ad Rep and Satellite Services Markets, and they
24 have lessened competition in those markets through the Dial/Jones Merger, the
25 Dial/Compass Agreement, and the Dial/Westwood Merger;
26
27
28
                                              39
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
       TORTIOUS INTERFERENCE WITH CONTRACT AND PROSPECTIVE ADVANTAGE, AND OTHER STATE LAW CLAIMS
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 1                 b.     Dial and Dial LLC acted unlawfully when they required radio
 2 stations to carry one or more of Dial’s conflict-of-interest programs if those
 3 stations wanted to receive one or more of the Syndication Plaintiffs’ programs;
 4                 c.     Dial, Compass Media, Compass Marketing, WYD, and WYM
 5 have conspired to monopolize the Independent Ad Rep Market, to create the false
 6 impression of competition in that market, and to misallocate revenues from
 7 advertising bundles;
 8                 d.     Dial and Courtside have interfered with the Syndication
 9 Plaintiffs’ contractual relationships with hosts, including Michael Savage and
10 Laura Ingraham.
11          204. Dial, Compass Media, and Compass Marketing have engaged in
12 unfair competition by virtue of a fraudulent act, as follows:
13                 a.     Dial, Compass Media, and Compass Marketing misrepresented
14 that Compass Marketing is a competitor to Dial in the Independent Ad Rep
15 Market, and the public was likely to be deceived by those representations into
16 thinking that Compass Marketing was a competitor to Dial in that market;
17                 b.     Dial falsely claimed that it was an honest broker in the
18 Independent Ad Rep Market when in fact it was manipulating payments from
19 advertising bundles in favor of itself and its affiliates; and
20                 c.     Dial falsely claimed that it had hundreds of NBC Radio
21 affiliates after it forced CNN Radio from the market.
22          205. Each Defendant has engaged in unfair competition by virtue of an
23 unfair act, as follows:
24                 a.     Dial acted unfairly when it concealed the composition of and
25 revenues earned from its bundles and when it misallocated revenues from those
26 bundles to favor its own account;
27                 b.     Dial and Dial LLC acted unfairly when they leveraged their
28 control over the Satellite Services Market to refuse or delay responding to
                                         40
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
       TORTIOUS INTERFERENCE WITH CONTRACT AND PROSPECTIVE ADVANTAGE, AND OTHER STATE LAW CLAIMS
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 1 directions from Plaintiffs as to the radio stations to receive the Syndication
 2 Plaintiffs’ shows;
 3                 c.     Dial and Courtside acted unfairly when they spread rumors
 4 about and otherwise acted to interfere with the Syndication Plaintiffs’ relationships
 5 with their hosts, including Michael Savage and Laura Ingraham;
 6                 d.     Dial, Compass Marketing, and Compass Media acted unfairly
 7 when they falsely created the impression of competition in the Independent Ad
 8 Rep Market;
 9                 e.     Dial and Dial LLC acted unfairly when they deemed former
10 CNN Radio affiliates to be affiliates of NBC Radio and interfered with switching
11 those stations to ARNN newscasts; and
12                 f.     Dial and Dial LLC acted unfairly when they unilaterally
13 switched radio stations’ satellite channel to Courtside’s show hosted by Laura
14 Ingraham without notice to any Plaintiffs, directly contrary to the position taken by
15 Dial and Dial LLC on receipt of instructions from Plaintiffs with respect to starting
16 programming from the Syndication Plaintiffs to replace conflict-of-interest
17 programming of Dial and/or Compass Media and, upon information and belief,
18 programming of Courtside and/or WYD.
19          206. Plaintiffs have been damaged as a result of Defendants’ conduct.
20                     SEVENTEENTH CAUSE OF ACTION
21       (Unjust Enrichment (Oregon Law) – Alternative to Breach of Contract)
                            (Syndication Plaintiffs vs. Dial)
22
23          207. Plaintiffs incorporate by reference the allegations in paragraphs 1 -
24 206 of the Complaint.
25       208. The Syndication Plaintiffs conferred a benefit upon Dial by permitting
26 Dial to sell advertising time on the Syndication Plaintiffs’ shows and by paying
27 Dial a commission for that service.
28          209. Dial was aware that it received those benefits.
                                          41
       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
       TORTIOUS INTERFERENCE WITH CONTRACT AND PROSPECTIVE ADVANTAGE, AND OTHER STATE LAW CLAIMS
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 1          210. Under the circumstances, it would be unjust to allow Dial to receive
 2 those benefits without paying the Syndication Plaintiffs for them, in full.
 3          211. By engaging in the conduct described above, Defendants have been
 4 unjustly enriched at the expense of the Syndication Plaintiffs and they are required,
 5 in equity and good conscience, to disgorge and pay their ill-gotten gains to the
 6 Syndication Plaintiffs.
 7                                  PRAYER FOR RELIEF
 8          WHEREFORE, for the reasons stated herein, Plaintiffs pray for judgment
 9 against Defendants and for the following relief:
10          A.     A judgment for three times the damages actually sustained by
11 Plaintiffs, as determined by a jury;
12          B.     A declaration that Defendants have violated the antitrust laws,
13 committed the torts described above, and/or breached their contracts with and
14 fiduciary duties to Plaintiffs;
15          C.     Permanent injunctive relief, which enjoins Defendants from entering
16 into any further illegal agreements and requires them to take affirmative steps to
17 dissipate the anticompetitive effects of their prior violations, including but not
18 limited to divestment of their merger with Jones Media and/or Westwood One, as
19 well as a requirement that Dial continue to represent the Syndication Plaintiffs
20 properly and to the best of its ability until the divestment is complete and/or
21 competitive balance is restored to the Independent Ad Rep Market;
22          D.     An accounting;
23          E.     The costs of this suit, including an award of attorneys’ fees; and
24          F.     Such other and further relief as the Court deems just and proper.
25
26
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       SECOND AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR COMPETITION, BREACH OF CONTRACT,
       TORTIOUS INTERFERENCE WITH CONTRACT AND PROSPECTIVE ADVANTAGE, AND OTHER STATE LAW CLAIMS
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 1                                PROOF OF SERVICE
 2       I am over the age of 18 years and not a party to this action. My business
   address is 19210 S. Vermont Ave., Building E, Gardena, CA 90248. My office
 3 number is (657) 464-0464, and my facsimile number is (424) 212-7001.
 4       On January 23, 2012, I caused to be served the document entitled: SECOND
   AMENDED COMPLAINT FOR ANTITRUST VIOLATIONS, UNFAIR
 5 COMPETITION, BREACH OF CONTRACT, TORTIOUS
   INTERFERENCE WITH CONTRACT AND PROSPECTIVE
 6 ADVANTAGE, AND OTHER STATE LAW CLAIMS on all the parties to this
   action addressed as stated on the attached service list:
 7
   [ ] OFFICE MAIL: By placing in sealed envelope(s), which I placed for
 8       collection and mailing today following ordinary business practices. I am
         readily familiar with this firm’s practice for collection and processing of
 9       correspondence for mailing; such correspondence would be deposited with
         the U.S. Postal Service on the same day in the ordinary course of business.
10
         [X] PERSONAL DEPOSIT IN MAIL: By placing in sealed
11              envelope(s), which I personally deposited with the U.S. Postal
                Service. Each such envelope was deposited with the U.S. Postal
12              Service at Los Angeles, California, with first class postage thereon
                fully prepaid.
13
         [ ] EXPRESS U.S. MAIL: Each such envelope was deposited in a
14              facility regularly maintained at the U.S. Postal Service for receipt of
                Express Mail at Los Angeles, California, with Express Mail postage
15              paid.
16 [ ] HAND DELIVERY: I caused to be hand delivered each such envelope to
         the office of the addressee as stated on the attached service list.
17
   [ ] FEDERAL EXPRESS: By placing in sealed envelope(s) designated by
18       Federal Express with delivery fees paid or provided for, which I deposited in
         a facility regularly maintained by Federal Express or delivered to a Federal
19       Express courier, at Los Angeles, California.
20 [X]        ELECTRONIC MAIL: By transmitting the document by electronic mail to
              the electronic mail address as stated on the attached service list.
21
      [ ]     FAX: By transmitting the document by facsimile transmission. The
22            transmission was reported as complete and without error.
23 [X]        (Federal) I declare under penalty of perjury that I am a member of the bar of
              this Court and that the foregoing is true and correct.
24
      Dated: January 23, 2013                       /s/ Victor O’Connell
25                                                  Victor O’Connell
26
27
28



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 1                                     SERVICE LIST

 2            Christopher Tayback
              Quinn, Emanuel, Urquhart & Sullivan, LLP
 3            865 S Figueroa Street 10th Floor
              Los Angeles, CA 90017-2543
 4            Email: christayback@quinnemanuel.com
              Attorney for Dial Global Inc.; Dial Communications-Global Media Inc.;
 5            Dial Communications Global Media LLC; Excelsior Radio Networks
              LLC; Triton Media Group LLC; Verge Media Companies Inc.; Verge
 6            Media Companies LLC; Triton Radio Networks, Inc.; Triton Media
              Companies, Inc.
 7
              Michael J. Kump
 8            Kinsella, Weitzman, Iser, Kump & Aldisert
              808 Wilshire Boulevard, 3rd Floor
 9            Santa Monica, CA 90401
              Email: mkump@kwikalaw.com
10            Attorney for Dial Global Inc.; Dial Communications-Global Media Inc.;
              Dial Communications Global Media LLC; Excelsior Radio Networks
11            LLC; Triton Media Group LLC; Verge Media Companies Inc.; Verge
              Media Companies LLC; Courtside LLC; Compass Media Networks LLC;
12            Compass Media Marketing; Triton Radio Networks, Inc.; Triton Media
              Companies, Inc.
13
              Peter F. Flaxman
14            Flaxman & Blakely
              591 Redwood Hwy., Suite 2375
15            Mill Valley, CA 94941
              Email: pf@peterflaxman.com
16            Attorney for Courtside LLC
17            Laura E. McSwiggin
              Epport, Richman & Robbins
18            1875 Century Park East Suite 800
              Los Angeles, CA 90067-2512
19            Email: LMcSwiggin@erlaw.com
              Attorney for Compass Media Networks LLC, Compass Media Marketing
20
              David N. Lake, Esq.
21            Law Offices of David N. Lake,
              A Professional Corporation
22            16130 Ventura Boulevard, Suite 650
              Encino, California 91436
23            david@lakelawpc.com
              Attorney for WYM Media Marketing LLC; WYM Media Management
24            LLC
25
26
27
28



      10563923_1
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         Exhibit “D”
Business Registry Business Name Search                             http://egov.sos.state.or.us/br/pkg_web_name_srch_inq.show_detl?p_be_...
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                                                                                                                  03-03-2014
           New Search
                                                                                                                      12:43
                              Entity      Entity                                          Next Renewal
          Registry Nbr                              Jurisdiction       Registry Date                   Renewal Due?
                              Type        Status                                              Date
            332201-95    DBC    ACT      OREGON      01-05-2006                             01-05-2014             YES
           Entity Name TALK RADIO NETWORK ENTERTAINMENT, INC.
          Foreign Name




         Online Renewal:




          New Search
                       PRINCIPAL PLACE OF
            Type     PPB
                       BUSINESS
           Addr 1 225 NE HILLCREST DR
           Addr 2
                     GRANTS
             CSZ                         OR 97526              Country       UNITED STATES OF AMERICA
                     PASS

         Please click here for general information about registered agents and service of process.
            Type AGT REGISTERED AGENT                         Start Date     03-14-2006 Resign Date
             Of
                     315546-94RAMBLING ROGUE ENTERPRISES, INC.
           Record
           Addr 1    225 NE HILLCREST DR
           Addr 2
                     GRANTS
             CSZ                         OR 97526              Country       UNITED STATES OF AMERICA
                     PASS

            Type  PRE PRESIDENT                                                                 Resign Date
           Name MARK                  MASTERS
           Addr 1 225 NE HILLCREST DR
           Addr 2
                     GRANTS
             CSZ                         OR 97526              Country       UNITED STATES OF AMERICA
                     PASS

            Type  SEC SECRETARY                                                                 Resign Date
           Name RONALD            H SEVERAID
           Addr 1 225 NE HILLCREST DR
           Addr 2



1 of 2                                                                                                                 3/3/2014 12:43 PM
Business Registry Business Name Search                                   http://egov.sos.state.or.us/br/pkg_web_name_srch_inq.show_detl?p_be_...
              Case 1:13-cv-06005-NLH-JS Document 19 Filed 03/03/14 Page 90 of 145 PageID: 475
                     GRANTS
             CSZ                         OR 97526                       Country     UNITED STATES OF AMERICA
                     PASS




          New Search
                                                                                     Name Name
                                Business Entity Name                                             Start Date             End Date
                                                                                     Type Status
         TALK RADIO NETWORK ENTERTAINMENT, INC.                                        EN       CUR      01-05-2006



         Please read before ordering Copies.
          New Search
          Image                                   Transaction Effective                      Name/Agent
                                Action                                           Status                          Dissolved By
         Available                                   Date       Date                           Change
                     NOTICE LATE
                                                   01-10-2014                      SYS
                     ANNUAL
                     ANNUAL REPORT                 03-04-2013                       FI
                     NOTICE LATE
                                                   01-11-2013                      SYS
                     ANNUAL
                     ANNUAL REPORT                 02-15-2012                       FI
                     NOTICE LATE
                                                   01-06-2012                      SYS
                     ANNUAL
                     ANNUAL REPORT
                                                   01-11-2011                      SYS
                     PAYMENT
                     NOTICE LATE
                                                   01-07-2011                      SYS
                     ANNUAL
                     ANNUAL REPORT
                                                   12-22-2009                      SYS
                     PAYMENT
                     ANNUAL REPORT
                                                   12-09-2008                      SYS
                     PAYMENT
                     ANNUAL REPORT
                                                   12-05-2007                      SYS
                     PAYMENT
                     REINSTATEMENT
                                                   05-04-2007                       FI
                     AMENDED
                     ADMINISTRATIVE
                                                   03-09-2007                      SYS
                     DISSOLUTION
                     NOTICE LATE
                                                   01-12-2007                      SYS
                     ANNUAL
                     CHANGE OF
                     REGISTERED                    03-14-2006                       FI               Agent
                     AGENT/ADDRESS
                     ARTICLES OF
                                                   01-05-2006                       FI               Agent
                     INCORPORATION
                                            © 2014 Oregon Secretary of State. All Rights Reserved.




2 of 2                                                                                                                       3/3/2014 12:43 PM
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1                     DECLARATION OF JOSEPH C. CANE, JR., ESQ.
2          I, JOSEPH C. CANE, Jr., Esq., hereby declare that
3          1.     I am one of the attorneys of record for Plaintiffs ANDREA TANTAROS,
4    an individual, and ASTERO, LLC, a New Jersey limited liability company (hereinafter
5    “Plaintiff TANTAROS” and “Plaintiff ASTERO”.) I have personal knowledge of the
6    matters set forth in this declaration and, if called as a witness, I could and would testify
7    competently as to the matters stated below.
8          2.     I am making this Declaration in support of Plaintiff ASTERO and Plaintiff
9    TANTAROS’s Opposition to Defendant’s Motion to Vacate Entry of Default.
10         3.     Plaintiff TANTAROS and Plaintiff ASTERO entered into an Employment
11   Agreement with Defendants, which is dated December 13, 2012. A true and correct of
12   the Parties’ “HOST AGREEMENT” is attached hereto as Exhibit “D.”
13         4.     I have been in email contact with Defendant TALK RADIO’s and
14   Defendant MASTERS’ legal counsel, both before and after the filing of Plaintiffs
15   second amended complaint, and Defendants’ counsel, and Defendants personally, were
16   aware of Plaintiffs’ second amended complaint. For example, on September 24, 2013,
17   I sent a letter to Defendants counsel, Mr. Ron Severaid, stating that, because Defendant
18   TALK RADIO was delinquent in payments due and owing under the HOST
19   AGREEMENT, Plaintiff would be examining her legal options. A true and correct
20   copy of Plaintiff TANTAROS’ letter of September 24, 2013, is attached hereto as
21   Exhibit “B.”
22         4.     On October 21, 2013, Defendant TALK RADIO responded to Plaintiff
23   TANTAROS’ letter of September 24, 2013, and stated that some of the past-due funds
24   had been wired into Plaintiff TANTAROS’ account on October 10, 2013. Importantly,
25   Defendant’s counsel states that such funds were wired “prior to hearing late that
26   afternoon of the improper commencement of a legal action on behalf of [Plaintiffs.]”
27   Thus, Defendants were aware of Plaintiffs’ complaint the day such complaint was filed.
28
                                                   1
29
            NOTICE OF OPPOSITION AND OPPOSITION OF PLAINTIFFS TO
30            DEFENDANTS’ MOTION TO VACATE ENTRY OF DEFAULT
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1    A true and correct copy of Defendant TALK RADIO’s October 21, 2013 letter to
2    Plaintiffs is attached hereto as Exhibit “C.”
3          4.     Subsequently to the filing of Plaintiffs’ second amended complaint,
4    Plaintiffs’ claims became the topic of national radio news, and was reported on several
5    major radio news networks. Further, I became aware that such news reports contacted
6    this office as well as both Defendants for comment on the pending suit. Such news
7    reports further contain statements from Defendants, who commented on the status of
8    the case, and particular facts regarding Plaintiffs’ causes of action. A true and correct
9    copy of several of these news reports, incorporating Defendants’ comments to Plaintiffs
10   claims, are attached hereto as Exhibit “A.”
11         I declare, under penalty of perjury under the laws of the United States of
12   America that the foregoing is true and correct.
13   Dated: March 3, 2014                              JOSEPH C. CANE, JR.
14
15                                                     /s/Joseph C. Cane, Jr.
16
                                                       Joseph C. Cane, Jr., Esq., counsel for
                                                       Plaintiffs ASTERO, LLC, a New Jersey
17                                                     limited liability company and ANDREA
18                                                     TANTAROS, an individual

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29
            NOTICE OF OPPOSITION AND OPPOSITION OF PLAINTIFFS TO
30            DEFENDANTS’ MOTION TO VACATE ENTRY OF DEFAULT
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         Exhibit “A”
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 Masters won’t give Tantaros up without a fight
 By cmarcucci on Oct, 14 2013 with Comments 0

        Share1 Tweet2 Share0 Share0 Share6

 Five days after Fox News’ “The Five” host Andrea Tantaros sued Talk Radio Network, the home
 of her syndicated morning talker, accusing it of fraud and breach of contract—and terminating
 her employment agreement—TRN CEO Mark Masters has issued another statement that pretty
 much says they are digging in in this battle. He can’t physically make her come back to work,
 but because of her contract with TRN to do a show, he notes she legally can’t work for anyone
 else in radio. He claims they have done everything according to contract and Tantaros is
 breaching that contract when she doesn’t get behind the mic. He also addresses the competitor
 that is trying to sign her away:

 “It is a testament to the quality of Andrea’s performance, and to TRN Entertainment’s
 investment, efforts and expertise, that a competitor could offer her and her advisers a “big
 enough payday” if she could be convinced to try to break her contract with us – which she cannot
 do.

 Though we continue to believe that Andrea is a victim of those who would offer her enough
 money to take extreme actions, we are saddened for her and our entire team as a result of her
 falling to this temptation.

 Andrea’s advisers would have been much better served to simply call and ask if we would be
 willing to sell the Show and her contract to the competitor which seeks them. An ethical
 competitor would do this, but there are certain unethical competitors who would seek to harm us
 and falsely induce Andrea to harm us as a method of trying to “cut us out” of any sale of the
 contract for her radio host services.

 Quite simply, this is the 20th anniversary of the founding of the initial TRN company. We have
 had many similar situations to this arise in the last twenty years – but none have been public or
 this aggressive. Simply put, the various false and misleading statements put out in public,
 apparently on Andrea’s behalf, are a smokescreen for non- public attempts to steal our
 investment under the guise of a contract dispute. Therefore, we need to make the following
 extremely clear – Andrea cannot unilaterally break her contract, and we are in full compliance
 with the agreement. Any statements to the contrary from her attorneys or anyone else are just
 bluster to attempt to hide the “payday” strategy.

 For the record, as TRN Entertainment understands the contention asserted to date as to a claimed
 termination notice issued on Wednesday, October 9, 2013, it was that TRN Entertainment did
 not respond to a letter issued on Friday, September 13, 2013 within 20 business days thereafter,
 and that, as a result, a termination notice could be issued. However, that claim is facially
 absurd. The 20 business day period extended through Friday, October 11, 2013, and TRN
 Entertainment timely issued its response, as it had scheduled internally, one day early, on
 Thursday, October 10, 2013. Contrary to reports circulating from whatever sources, TRN
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 Entertainment is also current on all of its payment obligations under the agreement, and there
 were no payment delinquencies which had to be cured as of the Friday, October 11th date in any
 event.

 Less than a year ago, Andrea was not in radio at all. Our skill, hard work, reputation and
 investment in her and the Show, combined with her brilliant on air performance, have led to her
 catching the attention of unethical individuals in the radio business, at a time when she is
 virtually new to the radio business. Those who have influenced her and put her into this
 embarrassing position have damaged TRN Entertainment, and we will pursue them for their
 greed and other malevolent motives, so that this will be a cautionary tale, not to be repeated.

 We continue to believe in Andrea’s brilliance on air and believe that she is at heart a decent
 person who will eventually see the error in her current course and correct it to our mutual
 benefit. I believe in her and continue to look forward to a long term relationship with her, in
 accordance with our existing contract which remains in full force and effect, once we sort the
 current manufactured intrigues out.

 We also like a good fight when it is for the right reasons, and this is for all of the right reasons.

 We are not vindictive, but we do look forward to catching the rats and finishing what they
 started.”


 Read more at http://rbr.com/masters-wont-give-tantaros-up-without-a-
 fight/#AD3gsmVQF52SUR7B.99
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Fox News' 'Five' Co-Host Andrea Tantaros Hits Her Talk Radio Employe... http://www.thewrap.com/fox-news-five-co-host-andrea-tantaros-sues-talk...
               Case 1:13-cv-06005-NLH-JS Document 19 Filed 03/03/14 Page 101 of 145 PageID: 486




           MEDIA | By Sara Morrison on October 10, 2013 @ 3:16 pm                                      Follow @saramorrison


                112          2371          13                        4            2           11.4K             Email      Print

                                                                                                                                                        Media Alley looks at the media
                                                                                                                                                        landscape from print to digital,
                                                                         Lawsuit claims Talk Radio Network                                              legacy media to new media.
                                                                         defrauded and breached its contract
                                                                         with its morning show star

                                                                         Fox News’ “The Five” host Andrea Tantaros
                                                                         has sued Talk Radio Network, the home of her
                                                                         morning talk show, accusing the company of
                                                                         fraud and breaching its contract with the
                                                                         conservative media star, leaving her with a
                                                                         nearly staff-less show that could only book
                                                                         “‘C-list’ quality guests.”

                                                                         Tantaros, who is currently featured on the
                                                                         cover of “Radio Ink,” was not so hot on her
                                                                         (now former) radio bosses when she filed a
                                                                         lawsuit against them on Thursday. She also
                                                                         sent a letter to TRN terminating her
                                                                                                                                   February 27, 2014 | 4 days ago
                                                                         employment agreement on Wednesday, the
                                                                                                                                   CNN’s Carol Costello Skeezed Out By Sexy
                                                                         suit said.                                                Jesus In ‘Son Of God’ (Video)

                                                “This is a situation entirely of TRN’s own making,” Tantaros’ lawyer,
                                                                                                                                   February 26, 2014 | 5 days ago
                                                Joseph Cane, told TheWrap. “TRN’s dire financial troubles have
                                                                                                                                   Ronan Farrow NY Post Story Disputed by Event
                                                unfortunately affected its ability to uphold multiple contact                      Organizer: ‘Ronan and His Team Did Not
                                                responsibilities to Ms. Tantaros. Andrea loves doing radio, values her             Request Any Restrictions’ (Updated)
                                                affiliates and has fulfilled the duties of her contract for the past two
                                                months while TRN has kept her in the dark, fired her staff, and the                February 26, 2014 | 5 days ago

                                                staff at TRN necessary to sell the show to advertisers.”                           PBS Science Correspondent Miles O’Brien
                                                                                                                                   Loses Arm in Freak TV-Equipment Accident
                                                Also read: Fox News’ Megyn Kelly, Shepard Smith Debuts
                                                Feature Giant iPads, Ted Cruz and Bob Beckel’s Sex Life                            February 26, 2014 | 5 days ago

                                                                                                                                   Philip Seymour Hoffman’s Friend Breaks
                                                In the suit, Tantaros said that TRN’s president and CEO Mark                       Silence Over False National Enquirer Story
                                                                                                                                   (Video)
                                                Masters made several false statements to recruit her for a radio
                                                show, including that Laura Ingraham, whose show Tantaros replaced,
                                                “was a nightmare, difficult to deal with, and an impossible and unfair
                                                negotiator and that is why Defendant TRN was planning to part ways
                                                with Ms. Ingraham and why her coveted time slot would be




1 of 5                                                                                                                                                                               3/3/2014 1:26 PM
Fox News' 'Five' Co-Host Andrea Tantaros Hits Her Talk Radio Employe... http://www.thewrap.com/fox-news-five-co-host-andrea-tantaros-sues-talk...
               Case 1:13-cv-06005-NLH-JS Document 19 Filed 03/03/14 Page 102 of 145 PageID: 487
                                           available.”

                                           TRN also promised to invest millions of dollars into promoting
                                           Tantaros’ new show to the approximately 300 local stations with
                                           which it had syndication deals. Tantaros’ decision to enter into a
                                           contract with TRN was based on those statements; as her salary was
                                           determined by a combination of a fixed rate ($300,000) and a
                                           percentage of revenue, TRN’s ability to earn that revenue was
                                           important.
                                                                                                                                     0:00 / 1:48

                                           Tantaros signed the contract in December, only to later discover that
                                                                                                                    March 1, 2014 By Wrap Staff
                                           TRN had sued one of its biggest syndicators (which TRN itself
                                                                                                                    ‘American Hustle’ Costume Designer Michael
           claimed in its lawsuit controlled 95 percent of advertising revenues for syndicated radio talk shows     Wilkinson Teases New Wonder Woman Costume
           like Tantaros’) several months earlier, which she said was not disclosed to her.                         (Video) PLAY
                                                                                                                    The Oscar-nominated designer talks about current
           “TRN induced Andrea into the contract based on a set of material misrepresentations of fact,” Cane       project "Batman vs....

           said.

           According to the lawsuit: “At the time Defendant TRN’s CEO, Mr. Masters, was wooing and soliciting                            Harold Ramis and Bill Murray:
                                                                                                                                         Inside The ‘Groundhog Day’ Duo’s
           Plaintiffs to enter into the Host Agreement and the Guaranty with it for the Tantaros Show,
                                                                                                                                         Decade-Long Feud
           Defendant TRN did not disclose the existence of the Dial Global lawsuit to Plaintiffs and further did                         24493 Views

           not disclose that it was in a dispute with one of the largest advertising sales syndicators in the
           United States.”                                                                                                               Oscars: Ellen DeGeneres Wasn’t
                                                                                                                                         Kidding About That Selfie (Photo)
                                                                                                                                         – Updated
           Also read: Geraldo Rivera Sued by Former Agency WME
                                                                                                                                         22950 Views


           Making matters worse, the suit says, TRN “laid off most of its staff and many others simultaneously
                                                                                                                                         ‘Captain Phillips’ Oscar Nominee
           ‘resigned’ from their positions, including, and critically, most of Defendant TRN’s sales team.” Some                         Barkhad Abdi Is Broke
           of those staffers worked on Tantaros’ show and were replaced by members of Mark Masters’ family.                              20653 Views



           “Plaintiff Tantaros found herself in a situation wherein she no longer had a competent executive
                                                                                                                                         Jimmy Kimmel Mocks Los Angeles
           producer, a full-time call screener, a paid assistant, or a sound effects manager, and further, had
                                                                                                                                         TV Reporters’ Ridiculous Reaction
           either no guests or only decidedly ‘C-list’ quality guests, was provided with no research for the                             to Rain (Video)
                                                                                                                                         14422 Views
           third-rate guests that were booked for the Tantaros Show, a lack of sufficient research for the topics
           at hand, provided with no editorial guidance, and she was expected by Defendant TRN to basically
                                                                                                                                         Ellen DeGeneres’ Epic Selfie With
           produce her own show,” the suit said.                                                                                         Meryl Streep, Jennifer Lawrence
                                                                                                                                         And More Breaks Retweet Record
           “In addition, there no longer was any meaningful sales force to sell her program to advertisers or                            (Photo)
                                                                                                                    11239 Views
           potential advertisers and there was no affiliate relations staff at Defendant TRN to service the needs
           or the requests of the Tantaros Show’s affiliates.”
                                                                                                                                         Ellen DeGeneres’ Oscars
                                                                                                                                         Monologue Pokes Fun At Jennifer
           Also read: Fox News Slapped With Another Lawsuit Over Live Suicide Airing
                                                                                                                                         Lawrence, Liza Minnelli (Video)
                                                                                                                                         11024 Views
           TRN’s “implosion,” the suit said, has caused Tantaros’ own brand and reputation to suffer. Her Fox
           News employer has “repeatedly expressed its concern at the implosion of Defendant TRN.”                                       Oscars: The Complete Winners
                                                                                                                                         List
           Tantaros said she is still owed “several” salary payments; those complaints echo a Talkers                                    10781 Views

           Magazine report in September about the shuttering of its America’s Radio News Network, in which
           several former employees complained that TRN owed them money.

           “Rather than attempting to facilitate a solution to the many issues at hand, TRN would prefer to do
           nothing, including not pay its talent,” Cane said. “This is indeed unfortunate … although Andrea
           wanted to continue to be a loyal trooper, TRN left her with no choice but to leave to mitigate
           damage.”

           TRN has lost several prominent hosts recently, including Laura Ingraham and Michael Savage in
           2012 and Phil Hendrie in 2013. With Tantaros out, TRN will lose the seventh-rated talk radio show in
           the country.

           Tantaros is asking for an unspecified punitive damages.

           Pamela Chelin contributed to this reported.




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                                  ← PREVIOUS STORY       NEXT STORY →




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 1                                 CERTIFICATE OF SERVICE
 2            I electronically filed the foregoing document with the clerk of the court for the
 3   U.S. District Court, District of New Jersey, using the electronic case filing system of the
 4   court.
 5            I hereby certify that on March 3, 2014, I caused:
 6            NOTICE OF OPPOSITION AND OPPOSITION OF PLAINTIFFS’ TO
 7               DEFENDANTS’ MOTION TO VACATE ENTRY OF DEFAULT;
 8     MEMORANDUM OF POINTS AND AUTHORITIES AND DECLARATIONS
 9      OF CHRISTIAN S. MOLNAR, ESQ., AND JOSEPH C. CANE, JR., ESQ., IN
10                                       SUPPORT THEREOF
11   to be served by first class mail on:
12              Defendant Talk Radio Network             Defendant Mark Masters
13                Entertainment, Incorporated            225 N.E. Hillcrest Drive,
14                  225 N.E. Hillcrest Drive,           Grants Pass, Oregon, 97526
15                 Grants Pass, Oregon, 97526
16
17            I declare, under penalty of perjury under the laws of the United States of America
18   that the foregoing is true and that I am employed in the office of a member of the Bar of
19   this court at whose direction the service was made.
20            Executed this 3rd day of March, 2014, at Los Angeles, California.
21
22                                                          /s/ Ashley M. Hunt_______
23                                                          Ashley M. Hunt
24
25
26
27
28
                                                    1
              NOTICE OF OPPOSITION AND OPPOSITION OF PLAINTIFFS TO
                DEFENDANTS’ MOTION TO VACATE ENTRY OF DEFAULT
